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IN THE UNITED STATES DISTRICT COURT F"-ED 87 rgé.._ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

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CITICAPITAL CoMMERClAL C0RP0RAT10N C‘~Ei'f~§<- L';§_[~F§WEHECT,TCOUHT
f/k/a AssoCIATES COMMERCIAL CoRPoRATIoN; WD if if"`" it‘-:"“"VHB

CITICAPITAL COMMERCIAL LEASING CORPORATION
f/k!a ASSOCIATES LEASING, INC.;
and CITICORP DEL-LEASE, INC.

Plaimiffs,
vs. CAUSE No. 03-Cv-2605 BA

CTK, INC. d/b/a LIFT X TECHNOLOGY and d/b/a iOYOTA LIFT SOUTH;
CTK SERVICES, LLC;
EQUIPMENT ENGINEERING COMPANY;
BERNARD PANCHIKAL,

individually and d/b/a LIFT TRUCK SERVICE & RENTALS; and
GEORGE TERRELL,

Defendants.

STIPULATED CONSENT ORDER
OF FRCP 4I(a) DISMISSAL WITHOUT PREJUDICE

Corne now the parties hereto and announce to the Court that it is agreed and stipulated
among them that the above-captioned matter should be dismissed Without prejudice, subject and
pursuant to the Settlernent Agreement attached hereto as Exhibit A which is approved by the
Court and incorporated herein, this Court retaining jurisdiction for the limited purpose of

enforcement of same .

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©'E:ETATES DISTRICT JUDGE
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Thie document entered on the docket sheet in compiiance
with ante 58 and/or ve(a) FHCP on 5- [-'615_ @

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STIPULATED, AGREED AND APPROVED:

BERN"ARD PA`i'\i"c'HIKAi, individually
and d/b/a Lift Truck Service & Rentals,
De ndant

\_ m¢./’\~'\ ;W

GEORGB’TERRELL, Defendam

APPERSON, CRUMP & MAXWELL, PLC

    

 

Le¢{is Ja\,/Mnier,jsq. (BPR #5418) `
6000 Poplar Ave ue, Suite 400

Mernphis, TN 38119-3972
(901) 756-6300

Fax (901) 757-1296
Attorneys for Plaintiffs

FARRIS MATHEWS BRANAN
BOBANGO HELLEN & DUNLAP PLC

mann

Michaei P. coury, E§q. (BPR # 7062)

40 S. Main Street, Suite 2000

One Commerce Square

Memphis, Tennessee 38103

(901) 259-7100

Fax (901) 259-7150

Attomeys for Defendants
CTK, Inc. d/b/a LIFT X TECHNOLOGY and d/b/a TOYOTA LIFT SOUTH;
CTK Services, LLC; and Equipment Engineering Company

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RU§SELL J. - [)I?F§ON, ESQ. (BPR #012307)
5100 Poplar ve e, Suite 2749

Mernphis, Tennessee 381]7-4000

(901) 761-0799

Fax (901) 753-7379

.Attorney for Defendant George Terrell

THE WINCHESTER LAW FIRM

Mark Gra'i, Esq.<{fsPR #012091)

6060 Poplar Avenue, Suite 295

Memphis, Tennessee 3 8119

(901) 685-9222

Fax: (90]) 869-0912

Attomeys for Defendant Bernard Panehil<;al,
individually and d/b/a Lift Truck Service & Rentals

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SETTLEMENT AGREEMENT

'I`HIS SETTLEMENT AGREEMENT (the “Agreement”) is entered into With an effective
date of June 30, 2005, by and between CTK, lnc. d/b/a Lift X Technology and d/b/a Lift Truck
Service & Rentals and d/b/a Toyota Lift South (“CTK, lnc.”) a Mississippi corporation having an
address at 5625 E. Raines Road, Mernphis, Tennessee 38115; CTK Services, LLC (“CTK
Services”), a Tennessee limited liability company having an address at 5625 E. Raines Road,
Mernphis, Tennessee 38115; Equipment Engineering Company (“EEC”), a Tennessee
corporation having an address at 5665 E. Raines Road, Memphis, Tennessee 38115 (CTK, Inc.,
CTK Services and EEC are collectively referred to herein as the “Corporate Obligors”); Bernard
Panchikal (“Panchikal”), a Tennessee resident, having an address at 3221 Pointe Hill Cove,
Mernphis, Tennessee 38125; George M. Terrell (“Terrell”), a Tennessee resident having an
address at 8840 River Rise Drive, Mernphis, Tennessee 38018 (Panchikal and Terrell are each
referred to herein as a “Guarantor” and collectively referred to herein as “Panchikal and Terrell”
or “Guarantors”) (CTK lnc., CTK Services, EEC and Guarantors are collectively referred to
herein as the “Obligors”) and CitiCapital Comrnercial Corporation (“CitiCapital Comrnercial”) a
Delaware corporation having an address at 450 Marnaroneck Avenue, Harrison, New York
10528; CitiCapital Commercial Leasing Corporation (“CitiCapital Leasing”) an lndiana
corporation having an address at 450 Mamaroneck Avenue, Harrison, New York 10528;
CitiCorp Del-Lease, lnc. (“Del»Lease”) a Delaware corporation having an address at 450
Mamaroneck Avenue, Harrison, New York 10528 (CitiCapital Comrnercial, CitiCapital Leasing
and Del-Lease are collectively referred to herein as the “CitiCapital Lenders”); BancorpSouth
Bank (“BancorpSouth”), a Mississippi banking corporation with an office at One Mississippi
Pla_za, 201 South Spring Street, Tupelo, Mississippi 38804; Wachovia Bank, N.A. successor to
SouthTrust Bank (“Wachovia”), a national banking association with an office at 6445 Poplar
Avenue, Suite 203, Mernphis, Tennessee 38119 (the CitiCapital Lenders, BancorpSouth and
Wachovia are each referred to herein as a “Lender” and collectively referred to herein as the
“Lenders”) and Jacques H. Belet, III andjor The Belet Group, Inc. and/or any new companies
(“Newco”) Which may be formed by Jacques H. Belet, III and/or any of his affiliates and
collectively referred to as “Belet”. Together, all of the above-identified persons and entities shall
be collectively referred to as the “Parties.”

BACKGR()UND

A. WHEREAS the CitiCapital Lenders initiated a lawsuit styled as CitiCapital
Commercial Corp., et al. v. C.T.K., lnc. et al., pending in the United States District Court for the
District of Tennessee, Case No. 03-CV-2605BA (the “District Court Action”).

B. WHEREAS Obligors have no defense, offset or counter-claim to the relief
requested in the District Court Action.

C. WHEREAS the CitiCapital Lenders and Obligors entered into a (i) Forbearance
Agreement as of January l, 2004, and executed on March 23, 2004 (the “Forbearance
Agreernent”); (ii) an Extension to Forbearance Agreement on June 21, 2004 (the “First
Extension”); (iii) a Second Extension to Forbearance Agreement on July 30, 2004 (the “Second
Extension”); and (iv) a Third Extension to Forbearance Agreernent on Septernber 10, 2004 (the

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“Third Extension"’); (the Forbearance Agreement and the First Extension, the Second Extension,
and the Third Extension shall be collectively referred to as the “Forbearance Agreements”).
Unless otherwise expressly noted, all defined terms contained herein shall have the meanings
ascribed to them in the Forbearance Agreement, adapted, as the context may require, to be
applicable not only to the CitiCapital Lenders but also to BancorpSouth and Wachovia. The
term “Loan Documents” as referenced in the Forbearance Agreements refers to the “CitiCapital
Lenders’ Loan Documents” and the term “Collateral” as referenced in the Forbearance
Agreements refers the “CitiCapital Lenders’ Collateral”.

D. WHEREAS Obligors are indebted to BancorpSouth on the following obligations:
(i) a loan in the original principal amount of $1,150,275.41 evidenced by that certain Seventh
Modification Agreement dated March 29, 2005 and all documents referenced therein; (ii) a loan
in the original principal amount of 3968,730.22 evidenced by that certain Fifth Modification
Agreement dated March 29, 2005 and all documents referenced therein; (iii) a loan in the
original principal amount of $1,990,735.96 evidenced by that certain First Modification
Agreement dated March 29, 2005 and all documents referenced therein; (iv) a loan in the original
principal amount of $129,005.5 l evidenced by that certain Promissory Note dated July 23, 1999
together with any rcnewals, amendments or modifications thereof and all documents referenced
therein; and (v) a loan in the original principal amount of $237,204.55 evidenced by that certain
Note dated August 17, 2004 and all documents referenced therein (all of which loans,
agreements, notes, and documents referenced therein are hereinafter referred to collectively as,
the “BancorpSouth Loan Documents”).

E. WHEREAS CTK Services is indebted to Wachovia with respect to a loan dated
October 22, 2001, in the original principal amount of $215,740.64 which was modified and
extended on March 12, 2004, and which is evidenced by certain loan documents executed by the
Obligors in connection therewith including a Promissory Note in the principal amount of
$77,142.50, together with all renewals, amendments or modifications thereof and all documents
referenced therein (the “Wachovia Loan Documents”) (the “Wachovia Loan Docurnents”) (the
CitiCapital Lenders’ Loan Documents, the BancorpSouth Loan Documents and the Wachovia
Loan Documents shall be collectively referred to as the “Lenders’ Loan Documents” and any and
all collateral in which Lenders have an interest shall be referred to as “Lenders’ Collateral”).

F. WHEREAS Belet was hired as a turnaround consultant assist the Corporate
Obligors with a financial restructuring with a view toward maximizing the value of the assets of
the Corporate Obligors.

G. WHEREAS the Obligors have agreed to the turnover of Lenders’ Collateral under
the terms and conditions set forth in this Agreement.

NOW, THEREFORE, for One Dollar ($1.00), the mutual promises set forth herein, and
other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged by the Parties, the Parties hereby agree as follows:

l. Recitals. 'l`he parties agree that the recitals set forth hereinabove are incorporated
herein by reference as if fully set forth herein and are a part of this Agreement.

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2. Enforcement of Lenders’ Riahts. Obligors agree to surrender and make
available to the Lenders any and all of Lenders’ Collateral of any type or nature in which
Lenders, or any of them, maintain a lien or security interest so that each Lender, as the case may
be, can exercise its rights under its Lenders’ Loan Documents, including the right to dispose of
the Lenders’ Collateral pursuant to applicable law, including Article 9 of the Unifonn
Commercial Code, whether by auction, private sale, foreclosure, strict foreclosure or otherwise,
at the Lenders’ sole and exclusive election and at such time as may be requested by each Lender.

3. Obligo_rs’ Consent and Cooperation. Obligors, including Panchikal and Terrell,
agree that they will cooperate fully with the disposition and liquidation of the Lenders’ Collateral
through the completion of the disposition and liquidation ln addition, Obligors, including
Panchikal and Terrell, will provide information as requested from time to time both prior and
subsequent to the enforcement of Lenders’ rights as provided in this Agreement and assist
Lenders and their respective assigns and/or transferees (including purchasers at auction, private
sale, or foreclosure) with pending or future litigation matters (including but not limited to the
Romark Toyota Financial Services, Richard Carver, William Payne matters) arising from or
relating to the operation of the Obligors’ business, including providing testimony and
information in connection with the litigation and assisting with responses to discovery demands,
and attending trial. Obligors acknowledge that they will not be compensated for the duties that
they are required to perform under this Agreement. Obligors, including Panchikal and Terrell,
will not interfere with Lenders’ efforts to recover, sell, transfer, liquidate or otherwise realize
upon the Lenders’ Collateral.

4. Lenders’ Loan Documents Still In Force. The Obligors confirm and
acknowledge that the Lenders’ Loan Documents are in full force and effect as of the date hereof
and shall remain in full force and effect, except as expressly modified in this Agreement and all
documents executed in connection with or referred to in this Agreement (hereinafter, the
“Related Documents”).

5. ])ebt Acknewledgement.

(a) Obligors acknowledge, covenant and agree that (i) they are in material
default under the terms and conditions of the CitiCapital Lenders’ Loan Documents; (ii) they are
unable to cure the defaults; (iii) they have no offsets, claims or defenses against the CitiCapital
Lenders under the CitiCapital Lenders’ Loan Documents; (iv) all grace periods, if any, have
expired; (v) by virtue of the defaults, the entire outstanding principal balance under the
CitiCapital Lenders’ Loan Documents is due and payable together with interest and other costs
associated therewith; (vi) Lenders have an absolute right to pursue their remedies; (vii) as of
April 18, 2005 the sum of $2,441,518 was due and owing under the CitiCapital Lenders’ Loan
Documents to the CitiCapital Lenders,, such amount including principal, interest, late charges
and attorneys fees; and (viii) all other interest, default interest, cost expenses required to be paid
pursuant to the CitiCapital Lenders’ Loan Documents accruing both before and after April 18,
2005 is due and owing to the CitiCapital Lenders (collectively, all amounts presently owed, or
that may become due at any time in the future, to any one or more of the CitiCapital Lenders

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from any one or more of the Obligors under the CitiCapital Lenders’ Loan Documents shall be
referred to herein as the “CitiCapital Secured lndebtedness”).

(b) Obligors acknowledge, covenant and agree that (i) they are in material
default under the terms and conditions of the BancorpSouth Loan Documents; (ii) they are
unable to cure the defaults; (iii) they have no offsets, claims or defenses against BancorpSouth
under BancorpSouth Loan Documents or otherwise; (iv) all grace periods, if an`y, have expired;
(v) by virtue of the defaults, the entire outstanding principal balance under the BancorpSouth
Loan Documents is due and payable together with interest and other costs associated therewith;
(vi) BancorpSouth has an absolute right to pursue its remedies; (vii) as of May 16, 2005 the sum
of $2,158,814.58 was due and owing in full under the BancorpSouth Loan Documents to the
BancorpSouth, said sum being comprised of principal in the amount of $2,150,004.52 and
accrued interest in the amount of $8,810.06. Said sum does not include interest accruing from
and after May 16, 2005, attorneys’ fees, costs and expenses of collection, amounts which have
been or may hereafter be advanced pursuant to the terms of the BancorpSouth Loan Documents
for payment of ad valorem property taxes or insurance, or any other amount whatsoever for
which Obligors are obligated or may hereafter become obligated to pay pursuant to any of the
BancorpSouth Loan Documents (collectively, all amounts presently owed, or that may become
due at any time in the future, to BancorpSouth from any one or more of the Obligors under the
BancorpSouth Loan Documents shall be referred to herein as the “BancorpSouth Secured
lndebtedness”).

(c) Obligors acknowledge, covenant and agree that (i) they are in material
default under the terms and conditions of the Wachovia Loan Documents; (ii) they are unable to
cure the defaults; (iii) they have no offsets, claims or defenses against Wachovia pursuant to the
Wachovia Loan Documents; (iv) all grace periods, if any, have expired; (v) by virtue of the
defaults, the entire outstanding principal balance under the Wachovia Loan Documents is due
and payable together with interest and other costs associated therewith; (vi) Lenders have an
absolute right to pursue their remedies; (vii) as of June 13, 2005 the sum of $48,892.74 was due
and owing in full under the Wachovia Loan Documents to the Wachovia, such amount including
principal and interest and (viii) all other interest, default interest, cost expenses required to be
paid pursuant to the Wachovia Loan Documents accruing both before and after June 13, 2005 is
due and owing to the Wachovia Lenders (collectively, all amounts presently owned, or that may
become due at any time in the future, to any one or more of the Wachovia from any one or more
of the Obligors under the Wachovia Loan Documents shall be referred to herein as the
“Wachovia Secured lndebtedness) (the CitiCapital Secured lndebtedness, the BancorpSouth
Secured lndebtedness and the Wachovia Secured lndebtedness shall be collectively referred to as
the “Secured lndebtedness”).

(d) Panchikal and Terrell, as Guarantors, each acknowledge, covenant and
agree as follows: (i) the Corporate Obligors are in default of the obligations guaranteed by
Panchikal and Terrell; (ii) each is jointly, severally and unconditionally obligated for the Secured
lndebtedness without setoff, counterclaim or defense; (iii) the amount due and owing pursuant to
any guaranty is set forth in this Paragraph 5; and (iv) the obligations pursuant to any guaranty are
a valid and binding obligation of each Guarantor, jointly, severally and in the alternative Thc
parties contemplate that all obligations of Panchikal and Terrell, as Guarantors, for the Secured

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lndebtedness shall be released according the terms and conditions described below in this
Agreernent.

6. Additional Representations and Warranties. The Obligors, including Panchikal
and Terrell, hereby represent and warrant as follows:

(a) This Agreement and the Lenders’ Loan Documents (collectively, the
“Documents”), constitute legal, valid and binding obligations of each party hereto and are
enforceable against such party iri accordance with their respective terrns.

(b) None of the Obligors has a defense, counterclaim or offset of any type or
nature with respect to the Documents or enforcement thereof To the best of each Obligor’s
knowledge, Lenders have fully performed all of their obligations under the Documents and are
not in default or breach of any obligation to Obligors under the Documents or otherwise

(c) The Corporate Obligors each have the corporate authority, and have been
duly authorized by all requisite corporate action, to execute and deliver this Agreement and to
perform their obligations hereunder This Agreement has been duly executed and delivered by
the Obligors.

(d) The Obligors’ execution, delivery and performance of this Agreement
does not and will not (i) violate any law, rule, regulation, agreement or court order to which and
Obligors are subject, (ii) conflict with or result in a breach of any of the Obligors’ Articles of
lncorporation, By-laws, Operating Agreements or any agreement or instrument to which any of
the Obligors are a party or by which it or its properties are bound, or (iii) result in the creation or
imposition of any lien, security interest or encumbrance on any property of any Obligor, whether
now owned or hereafter acquired, other than liens in favor of the Lenders.

(e) The Lenders have a valid lien and security interest in all Lenders’
Collateral, and the Obligors expressly reaffirm all security interests and liens granted to Lenders
pursuant to the Lenders’ Loan Documents.

(f) Obligors acknowledge that they are making all decisions with respect to
Obligors’ business and that the terms and conditions set forth herein are reasonable and
beneficial to the business of the Obligors. Obligors acknowledge that they have no claim of any
type or nature arising from or relating to the implementation of the terms and conditions of this
Agreement.

(g) Obligors agree that they shall not raise, allege or assert any claims or
counterclaims, offsets or defenses of any kind against Lenders arising out of the Documents To
the fullest extent permitted by law, Obligors waive all present and future defenses, offsets,
claims and counterclaims in any action or proceeding commenced by Lenders to enforce their
rights under the Documents, including the recovery and disposition of the Lenders’ Collateral,
and Obligors, Panchikal and Terrell further waive their right to contest any actions commenced
by Lenders to recover and/or dispose of the Lenders’ Collateral. Obligors will not take any
action to impede, delay or hinder such actions by Lenders or sales of the Lenders’ Collateral.

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(i) Obligors know of no claims, suits or causes of action to be filed against
the Corporate Obligors, except as otherwise disclosed on Exhibit A attached hereto and
excluding the claims of Lenders.

7. Comgierciallv Reasonablv Disnosition. The Obligors hereby covenant and
agree that any disposition by Lenders of the Lenders’ Collateral by shall be deemed
commercially reasonable and Obligors knowingly and intelligently waive and renounce all of
their rights under UCC 9-627 regarding determination of the commercial reasonableness of any
disposition by Lenders. The Obligors stipulate and acknowledge that such sale may be to
Lenders, to Belet, or to any entity designated by Lenders.

8. Waiver of Notice of Sale or Disposition.

(a) The Obligors knowingly and intelligently waive and renounce all of their
rights to notification under UCC Section 9-611 as to the sale or other disposition of the Lenders’
Collateral and under UCC Sections 9-620 and 9~621 regarding acceptance of the Lenders’
Collateral as discharge of the Secured lndebtedness of the Obligors.

(b) The Obligors hereby confirm that the foregoing waiver was made in
accordance with UCC Section 9-624(a) and that this Agreement constitutes a valid agreement
regarding such waiver entered into and authenticated after default under the Lenders’ Loan
Documents.

9. Waiver of Right of Redemption.

(a) The Obligors hereby knowingly and intelligently waive and renounce any
and all rights to redeem the Lenders’ Collateral, whether under UCC Section 9-623 or otherwise,
and any rights they may have to notice and hearing before a court of competent jurisdiction on
any and all issues arising from, relating to or in connection with Lenders’ Collateral.

(b) The Obligors hereby confirm that the foregoing waiver was made in
accordance with UCC Section 9-624(c) and that this Agreement constitutes a valid agreement
regarding such waiver entered into and authenticated after default under the Lenders’ Loan
Documents

10. Waiver of Remedies. The Obligors hereby knowingly and intelligently waive
and renounce any and all rights, whether under UCC Section 9 625 or other applicable law, to,

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inter alia, obtain judicial orders and recover damages on any and all issues arising from, relating
to or in connection with the Lenders’ Loan Documents relating to the Lenders’ Collateral.

l l. UCC Mandatorv Disnosition Provisions Inanplicable. The Paities hereto agree
that UCC (as defined herein) Section 9-620(e) is inapplicable to the surrender and repossession
of the Lenders’ Collateral.

12. UCC Acceptance of Collateral Provi@ns Inapplicable. The Parties hereto
agree that the rights and obligations of the parties with respect to the surrender and repossession
of the Lenders’ Collateral in accordance with this Agreement shall be governed by this
Agreement and the provisions of UCC 9~620 regarding acceptance of collateral shall not apply to
the transactions contemplated by this Agreement.

13. No Waiver. No negotiations or actions (including, but not limited to, any
payments made to Lenders by the Obligors) taken before or after the entry of this Agreement,
shall constitute a waiver of any party's rights under the Lenders’ Loan Documents. The failure or
omission of the Lenders to exercise in one or more instances, any right or option given under this
Agreement, or under the Lenders’ Loan Documents, either before or after the entry of this
Agreement, shall not be construed as a waiver or relinquishment of such right or option in the
case of any other default, but the right to such further right or option shall remain in full force
and effect Except as otherwise specifically provided in this Agreement, the Lenders do not
hereby waive any rights or remedies which they have or may now or hereafter have under the
Lenders’ Loan Documents or under any other existing agreements by and among anyone or more
of the undersigned parties to this Agreement, and all terms and provisions of such agreements
and instruments shall remain in full force and effect

14. Arnendments. The Parties covenant that this Agreement and the Lenders’ Loan
Documents shall only be amended or modified in writing

15. Obl_igations of Panchikal and Terrell to Return Lenders’ Collateral.
Panchikal and Terrell represent that they are not in possession of Lenders’ Collateral other than
the items referenced on Exhibit “B”. Panchikal agrees that he shall deliver to the CitiCapital
Lenders the vehicles, along with the title, registration documents and keys therefore, identified
on Exhibit “B” attached hereto. Panchikal and Terrell shall execute and deliver such title and
registration documents and other documents reasonably requested Further, Panchikal and
Terrell represent that they will not take control or possession of any Lenders’ Collateral
following the execution of this Agreement.

16. Events of Default. Failure by the Obligors, including Panchikal and Terrell, to
deliver properly executed documents as either requested or as set forth herein, or the failure by
any Obligors, Panchikal and Terrell to perform, observe or meet any of the covenants as set forth
in this Agreement, or the failure of the Obligors, including Panchikal and Terrell to cooperate, or
the filing of a bankruptcy, receivership, assignment proceeding or other type of insolvency
proceeding under state or federal law for any or each of the Obligors, or any representation or

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statement made by Obligors in this Agreement is found to be materially false, shall constitute an
event of default under this Agreement (hereinafter referred to as an “Event of Default” or
collectively, as the “Events of Default”).

l7. Lenders’ Loan Docl_lments.

(a) lt is hereby expressly acknowledged and agreed that in accordance with
the CitiCapital Lenders’ Loan Documents and Related Documents, the CitiCapital Lenders are
fully secured with a first lien and security interest with respect to the CitiCapital Lenders’
Collateral, including, but not limited to, that which is set forth on Exhibit “C” annexed hereto.

(b) lt is hereby expressly acknowledged and agreed that in accordance with
the BancorpSouth Lenders’ Loan Documents and Related Documents, the BancorpSouth
Lenders are fully secured with a first lien and security interest with respect to the BancorpSouth
Collateral, including, but not limited to, that which is as set forth on Exhibit “D” annexed
hereto.

(c) lt is hereby expressly acknowledged and agreed that in accordance with
the Wachovia Lenders’ Loan Documents and Related Documents, the Wachovia Lenders are
fully secured with a first lien and security interest with respect to the Wachovia Collateral,
including, but not limited to, that which is as set forth on Exhibit “E” annexed hereto.

18. Cooperation and Assistance. Obligors, including Panchikal and Terrell, agree to
cooperate and assist the Lenders to cany out the terms of this Agreernent. The cooperation and
assistance shall include, but is not limited to, disclosure of all information and delivery of all
documentation which the Lenders may reasonably request relating to the Lenders’ Collateral,
business operation and business affairs and any litigation arising out of or related to the
Obligors’ business operation or affairs. Such cooperation shall further include providing
authorization necessary to assist or enable the Lenders to exercise their rights and will firrther
include communication and instructions to all other persons and entities requesting them to
cooperate with the Lenders. Obligors, including Panchikal and Terrell, shall refrain from taking
any actions or communication with other persons or entities in any manner which would be
adverse to the intentions of the Lenders as set forth in this Agreement. Obligors, including
Panchikal and Terrell, shall refrain taking any action, participating in any manner or authorizing
or directing the filing of a bankruptcy, receivership, assignment proceeding or other type of
insolvency proceeding under state or federal law for any or each of the Obligors. Obligors,
including Panchikal and Terrell, shall agree to execute any authorizations, documents or other
instrument reasonably required by the Lenders to effectuate the terms and conditions of this
Agreement. The obligation to cooperate and assist shall continue until the objectives of this
Agreement have been satisfied fully, in the sole and absolute discretion of Lenders.

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l9. Waiver of Claims and Deliverv of Releases.

(a) Obligors, including Panchikal and Terrell, each hereby waive any and
every right to assert or interpose any claim, defense, objection, offset or counterclaim of any kind
or nature in any action or legal proceedings between or among the Lenders or any of their
affiliates and any other party or parties hereto arising out of or relating to this Agreement or any
or all of the Lenders’ Loan Documents, Related Documents and any transactions contemplated
hereby or thereby, any other document made in connection herewith or therewith or any right or
remedy the Lenders may exercise hereunder or thereunder or permitted by law.

(b) Obligors, including Panchikal and Terrell, each agrees to release, waive,
and forever discharge any and all claims, rights, demands, and causes of action, known or
unknown, fixed or contingent, which each of them has or may have, or claim to have against
each of the Lenders andfor any of their affiliates and/or any of their employees, officers,
directors, agents, representatives, (collectively the “Lender Releasees”) arising at any time from
the beginning of the world to the date of this Agreement, including but not limited to any such
claims any of such Obligors have or may have with respect to the lending and/or business
relationship between any of them and any of the Lender Releasees. Obligors, including
Panchikal and Terrell shall, upon the execution of this Agreement, deliver to the Lenders, a fully
executed release in a proper form fully acceptable to the Lender Releasees.

(c) Obligors, including Panchikal and Terrell, each agree to release, waive,
and forever discharge any and all claims, rights, demands, and causes of action, known or
unknown, fixed or contingent, which each of them has or may have, or claim to have against
Jacques H. Belet, lIl and/or The Belet Group, Inc. and/or any new companies (“Newco”) which
may be formed by Jacques H. Belet, lll, and/or any of its companies, affiliates and/or any of their
emp_loyees, officers, directors, agents, representatives, (collectively, the “Belet Releasees”)
arising at any time from the beginning of the world as it relates to the entities involved but not
limited to the Corporate Obligors, including but not limited to any such claims any of such
Obligors and Guarantors have or may have with respect to the business relationship between any
of them and any of the Belet Releasees (the “Belet Release”). All parties to this Agreement
acknowledge that Jacques H. Belet, lll will be forming a new company called “Newco” which
may or may not be a successful bidder at a foreclosure sale and/or private sale. lf “Newco” is the
successful bidder, all parties acknowledge that Belet and/or Newco will be performing a
continued liquidation of the assets for maximization of recovery for all Lenders. Panchikal and
Terrell, individually and as guarantors, acknowledge that there will be no recoupment of funds,
no limitation of liability and/or no release from liability on their behalf beyond what is
specifically provided for in this Agreement. Obligors and Guarantors shall, upon the execution
of this Agreement, deliver to the Belet Releasees, a fully executed release in a proper form fully
acceptable to the Belet Releasees.

(d) Lenders each agree to release, waive, and forever discharge any and all
claims, rights, demands, and causes of action, known or unknown, fixed or contingent, which
each of them has or may have, or claim to have against the Belet Releasees arising at any time
from the beginning of the world to the date of this Agreement as it relates to the Obligors’
business Lenders shall, upon the execution of this Agreement, deliver to the Belet Releasees, a
fully executed release.

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(e) Obligors, including Panchikal and Terrell, each hereby waive and
affirmatively agree not to allege or otherwise pursue any or all defenses, affirmative defenses,
counterclaims, claims, causes of action, setoffs or other rights that they may have, as of the date
hereof, to contest (i) any “Events of Default” under the Lenders’ Loan Documents which could
be declared by Lenders at the date hereof; (ii) any provision of the Lenders’ Loan Documents,
this Agreement or the Related Documents; (iii) the right of Lenders to recover the Lenders’
Collateral (as defined in the Lenders’ Loan Documents and Related Documents) and its
proceeds; (iv) the security interest of Lenders in the Lenders’ Collateral, whether real or
personal, tangible or intangiblc, or any right or other interest, now or hereafter arising in
connection with thereto; (v) the conduct of Lenders in administering the financing arrangements
by and between Obligors and Lenders; or (vi) the disposition of the Lenders’ Collateral.

20. Release to Panchilial and Terrell . Lenders shall provide Panchikal and Terrell
with a complete and full release (the “Panchikal and Terrell Release”) from any and all of their
joint or several obligations as Guarantors, if applicable, or individually for the Secured
lndebtedness or any other obligations to any of the Lenders relating directly or indirectly to such
Secured Indebtedness, except that Panchikal and Terrell shall not be released from any
obligations under this Agreement. The Panchikal and Terrell Release shall be held in escrow by
counsel for CitiCapital Lenders pending the complete and full disposition of the Lenders’
Collateral contemplated by this Agreement and on the condition no Event of Default has
occurred prior to that time. The Panchikal and Tcrrell Release shall be effective upon release
from escrow. Each Lender warrants and represents that so long as there has been no Event of
Default under this Agreement and this Agreement has not been rescinded, the Lender will not
seek to enforce any of the obligations of Panchikal andfor Terrell with respect to the Secured
indebtedness at any time prior to the release of the Panchikal and Terrell Release from escrow.
The Panchikal and Terrell Release shall be rescinded and of no further force and effect if the
conveyance of Lenders’ Collateral is avoided or if any of the Lenders are required to disgorge
any proceeds from the liquidation of the Lenders’ Collateral in connection with any preference,
fraudulent conveyance or other avoidance action in any state or federal court commenced by, on
behalf of or against the Obligors or either or both of Panchikal and Terrell. Notwithstanding any
other provision set forth herein the Panchikal and Terrell Release shall not release any party in
connection with the default or failure of performance in the terms, conditions and provisions set
forth in this Agreement. A copy of the form of Panchikal and Terrell Release is attached hereto
as Exhibit “F ”.

21. Nonsolicitation, Nondisclosure., and Noncompetition Cla@.

Guarantors acknowledge and agree that the Corporate Obligors are in the business
of selling, leasing, servicing, and maintaining material handling equipment Guarantors
acknowledge that: (l) the products are highly specialized items; (2) the identity and particular
needs of the customers are not generally known in the marketplace; (3) the Corporate Obligors
have a proprietary interest in the identity of its customers and customer lists; and (4) documents
and information regarding the Corporate Obligors’ methods of production, sales, pricing, costs,
and the specialized requirements of its customers are highly confidential and constitute trade
secrets. Guarantors acknowledge that such confidential information is a valuable asset and the
use of such information by a competitor could result in serious damage and injury to the recovery

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of the Lenders, Obligors and Guarantors. The Parties hereto agree as follows:

a. Covenants:
(i) Covenant Not To Disclose: The Guarantors covenant and agree that they shall

 

not use, sell, discuss, transfer, disclose or deliver to any person, partnership,
media representative, joint venture, corporation or other entity any confidential
information pertaining to the material handling business of the Corporate Obligors
learned or acquired by the Guarantors heretofore or hereafter, directly or
indirectly, from the Corporate Obligors, including, without limitation, any
information, knowledge and/or data (i.) of a technical nature, including but not
limited to, proprietary methods of managing collections and their exhibits,
methods of processing and handling materials, know-how, formulae,
compositions, discoveries, inventions, computer programs and similar items or
research projects; (ii.) of a business nature, including but not limited to,
information regarding costs, purchasing, revenues, expenses, marketing, types of
items purchased or sold, sales or customers, employees, officers, or directors; or
(iii.) pertaining to future developments, including but not limited to, research and
development, expansion, and strategic plans (the “Confidential lnformation"),
except with the Corporate Obligor's express written consent and except for
Confidential lnformation which at the time of` receipt or thereafter becomes
publicly known, through no wrongful act of the Guarantors. The Guarantors
further agree that upon execution of this document, the Guarantors shall deliver
any and all documents, records and papers and all copies to an authorized
representative of the Corporate Obligors

(ii) Covcnant Not To Solicit Emplovees. The Guarantors covenant and agree that
they will not induce or attempt to induce any present or future employee of the
Corporate Obligors, or any employee of the entity or person that may purchase the
Corporate Obligors’ assets, to terminate his or her employment with the business
nor will they hire any such employee

(iii) Covenant Not To Compete. Guarantors will not engage, directly or indirectly, in
any aspect of the material handling or lift truck business or any substantially
similar operation having an office within the territory of the Corporate Obligors,
i.e. all of the State of Mississippi, Westem Tennessee (all counties west of the
Tennessee River) and Eastern Arkansas (all counties east of Little Rock) within a
three (3) year period following the date of this Settlement Agreement.

Guarantors shall not, as an officer, stockholder, director, employee, broker,
representative parmer, sole proprietor or in any other manner or capacity, directly
or indirectly, call upon any customer of Corporate Obligors, or within any
territories in which corporate obligors normally sale or distribute such products,
for the purpose of brokering, soliciting, or selling any products normally
associated with the material handling or lift truck business

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(iv) Covenant Not To Interfere or Disparage: Guarantors will not engage or
participate in any activity, transaction, or practice that is intended to or is likely to
result in the interference with the material handling business of the Corporate
Obligors Likewise, Guarantors will not communicate or otherwise publish any
information that is designed, intended, or reasonably likely to be understood or
interpreted as disparaging or derogatory of the Corporate Obligors or their
material handling business, employees officers, or agents

b. Reasonableness. The Guarantors acknowledge and agree that the restrictions
contained herein l are reasonable in scope and effect and are necessary for the
proper protection of the assets and goodwill of the material handling businesses
conducted by the Corporate Obligors This Agreement is ancillary to the sale of
the assets of a business and is a vital component of the sale. The Guarantors also
acknowledge that these restrictions will not deprive the Guarantors of the means
and suitability of supporting and maintaining themselves or their families

c. Term. Except as referenced in Paragraph Zl(a)(iii) above, the duration of the
restrictions above shall be five (5) years, commencing on the date of execution of
this Agreement by all parties

d. Enforcement. lt is the express intention of the Parties to this Agreement to
comply with all laws applicable to the covenants contained herein. lf any of the
covenants contained herein is found to exceed that, such restrictive covenant may
be reformed or modified by the final judgment of a court of competent
jurisdiction or other lawfully constituted authority to reflect a lawful and
enforceable duration or scope, and such covenant automatically shall be deemed
to be amended and modified so as to comply with the judgment or order of such
court or authority. If any one or more of the provisions contained herein shall for
any reason be held invalid, illegal or unenforceable in any respect, such invalidity,
illegality or unenforceability shall not affect any other provision of this
Agreement, and this Agreement shall be construed as if such invalid, illegal or
unenforceable provisions had never been contained herein.

e. Sgecific gerformance. The Guarantors understand and agree that the restrictions
contained herein are a reasonable and necessary protection of the legitimate
interests of the Corporate Obligors and that any failure of the Guarantors to
comply with the requirements of this Agreement will cause the Corporate
Obligors irreparable injury. Accordingly, the Guarantors agree that the Corporate
Obligors shall be entitled as a matter of right to specific performance of the
requirements of this Agreement or to temporary or permanent injunctive relief
against any breach or attempted breach of Paragraph l by the Guarantors without
the necessity of posting bond or proving actual damages Such right to specific
performance or an injunction shall be cumulative and in addition to any other
remedies the Corporate Obligors may have. The Guarantors agree to pay all court
costs and reasonable attorneys' fees incurred by the Corporate Obligors in
obtaining specific performance of, or any injunction against a violation of the

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requirements of this Agreement.

f. Corporatior_r’s Pgrchaser. The Parties acknowledge and understand that the
assets of the Corporate Obligors are to be sold at a private sale. These covenants
are intended to create rights and benefits in the Corporate Obligors, their
employees, officers, and directors and in all subsidiaries and other entities
controlled, directly or indirectly, by the Corporate Obligors or any newly formed
companies which may purchase the assets of the Corporate Obligors at a public or
private sale (“Purchaser"). As such, Purchaser shall be entitled to enforce the
terms and provisions contained in this Agreement. All terms and covenants shall
be for the benefit of Purchaser as well as the Corporate Obligors

22. Consent of Panchikal and Terrell. Each of Panchikal and Terrell, in his
capacity as guarantor, consents to each and every term and provision of this Agreement, and the
Related Documents as well as to all actions and transactions required or contemplated under this
Agreement, the Related Documents and all documents executed in connection herewith or
therewith

23. Authorig.

a. Of the Obligors As a material inducement to the Lenders to enter this
Agreement, Obligors, Panchikal and Terrell represent and warrant to the Lenders that:

(i) CTK, lnc. is a corporation of the State of Mississippi duly
organized, validly existing and in good standing under the laws of` the State of Mississippi.

(ii) CTK Services is a limited liability company of the State of
Tennessee duly organized, validly existing and in good standing under the laws of the State of
Tennessee.

(iii) EEC is a corporation of the State of Tennessee duly organized,
validly existing and in good standing under the laws of the State of Tennessee.

(iv) Obligors have all of the power and authority to execute, deliver
and perform this Agreement and all other Related Documents which documents are binding and
valid obligations of the Obligors, and have taken all necessary action to authorize the execution,
delivery and performance of this Agreement and all other Related Documents

(v) The consummation of the transactions herein contemplated and the
performance or observance of obligations of the Obligors under the Lenders’ Loan Documents,
this Agreement, and Related Documents or the transactions contemplated herein to which any of
the Obligors are a party: (i) have been duly authorized by all necessary action on the part of
Obligors; (ii) will not conflict with or result in a breach of or default under any injunction, or
decree of any court or governmental instrumentality, or any agreement or instrument to which
any of Obligors, including Panchikal and Terrell, are now a party or is subject; and (iii) will not
(except to the extent provided in this Agreement) result in the creation or imposition of any lien,

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charge, or encumbrance of any nature whatsoever upon any of the property or assets of any of
the Obligors pursuant to the terms of any such agreement or instrument

(vi) To the extent any consent, approval, order, or authorization or
registration, declaration, or filing with any governmental authority or other person or legal entity
is required in connection with the valid execution and delivery of this Agreement or the carrying
out or performance of any of the transactions required or contemplated by this Agreement, and
Related Documents, all such consents, approvals, orders or authorizations shall have been
obtained or all such registrations declaration, or filings shall have been accomplished prior to the
execution of this Agreement and Related Documents If any of the foregoing
representations and warranties should be false or misleading in any material wayJ same shall
constitute an Event of Default under this Agreement.

b. Of` each Lender. Each Lender represents and warrants to the Obligors that:

(i) The Lender is a valid corporation under applicable state or federal
law, and has been duly organized and is validly existing and in good standing under the laws of
that state of organization

(ii) The Lender has all of the power and authority to execute, deliver
and perform this Agreement and all other Related Documents, which documents are binding and
valid obligations of the Lender, and have taken all necessary action to authorize the execution,
delivery and performance of this Agreement and all other Related Documents

(iii) The consummation of the transactions herein contemplated to
which the Lender is party: (i) have been duly authorized by all necessary action on the part of the
Lender; and (ii) will not conflict with or result in a breach of or default under any injunction, or
decree of any court or governmental instrumentality, or any agreement or instrument to which
the Lender is now a party or is subject

(iv) To the extent any consent, approval, order, or authorization or
registration, declaration, or filing with any governmental authority or other person or legal entity
is required in connection with the valid execution and delivery of this Agreement or the carrying
out or performance of any of the transactions required or contemplated by this Agreement, and
Related Documents, all such consents, approvals, orders or authorizations shall have been
obtained or all such registrations, declaration, or filings shall have been accomplished prior to the
entry of this Agreement and Related Documents

24- District Court Action. This Agreement will be part of a stipulated settlement in
the District Court Action. The District Court Action will be dismissed without prejudice subject
to the terms of the Agreement which may be enforced by the District Court, in its discretion A
stipulation shall be executed simultaneously with the execution of this Agreement and is annexed
hereto as Exhibit “G”. in the event that the District Court declines for any reason to exercise
continued jurisdiction, then the Obligors, Panchikal and Terrell irrevocably consent to the
jurisdiction of the Federal and State courts of the State of Tennessee in connection with any

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action or proceeding arising out of or related to this Agreement and hereby waive, to the extent
permitted by law, any right to obtain a change in venue from any such court in any action, suit or
proceeding

25. Management. Terrell will continue in the management positions as referenced in
paragraph 13 of the Forbearance Agreement. ferrell will execute such documents as are
reasonably requested of him from time to time to assist in the transfer and liquidation of the
Lenders’ Collateral, including such documents that may be required to transfer title or confirm
ownership Panchikal reaffirms the provisions of paragraphs 13 and 14 of the Forbearance
Agreement concerning the limitations on Panchikal’s involvement on behalf of the Obligors and
agrees that such limitations are and Shall remain in ii.rll force and effect. This provision shall
terminate upon notification from each Lender that such Lender has received and/or recovered its
Collateral as provided for in this Agreement.

26. Additional Doclg_ents. The Obligors, including Panchikal and Terrell, shall at
any time after the date hereof sign, execute, and deliver, or cause others so to do, all such
agreements letters powers of attorney, pleadings deeds, titles, bills of sale, registrations filings,
questionnaires5 affidavits assignments documents and instruments and do or cause to be done
all such other acts and things as may be necessary or proper to carry out the transactions
contemplated by this Agreement and the Related Documents

27. Severabili§y. The provisions of this Agreement are severable and if any
provision shall be held invalid or unenforceable in whole or in part in any jurisdiction, then such
invalidity or unenforceability shall not in any manner affect such provision in any other
jurisdiction or any other provisions of this Agreement in any jurisdiction

28. True and Complete Statements. Obligors each represent and warrant that all
their statements herein and in any documents heretofore, concurrently, or hereafter delivered by
Obligors, Panchikal and Terrell to Lenders are and shall be true, complete and correct, and
Obligors have not omitted any facts which it is necessary to disclose in order to keep the
statements made or delivered by Obligors and Grantors from being misleading

29. Advice from Independent Counsel. Each Party signing below understands that
this Agreement and all Related Documents are legally binding agreements that may affect such
party's rights Each party has consulted independent counsel about the meaning and import of
this Agreement and each of the Obligors, by signing below, represents to Lenders that each such
party has obtained their independent counsel and has received such legal advice from such
counsel with respect to the negotiation of and entry into this Agreement, the Related Documents
and all documents in connection therewith

30. Notices. All notices pursuant to this Agreement shall be in writing either by letter
delivered by hand, sent certified mail, return receipt requested, overnight courier mail, Federal
Express or Facsimile addressed as follows:

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(a)

(b)

(C)

lf to Obligors, CTK, lnc. and/or CTK Services:

CTK, Inc.

CTK Services, LLC

5625 E. Raines Road
Memphis, Tennessee 38115
Attention: George M. Terrell
Facsimile: 901-366-4599

with a copy to:

Michael P. Coury, Esq.

Farris Mathews Branan
Bobango Hellen & Dunlap PLC
40 S. Main Street, Suite 2000
One Cornmerce Square
Memphis, Tennessee 3 8103
Facsimile: 901-259-7150

lf to Obligor EEC:

Equipment Engineering Company
5665 E. Raines Road

Memphis, Tennessee 38115
Attention: George M. Terrell
Facsimile: 901-366-4599

with a copy to:

Russell J. Johnson, Esq.

5100 Poplar Avenue, Suite 2749
Memphis, Tennessee 38117~4000
Facsimile: 901-753-7379

lf to George M. Terrell as a guarantor:

George M. Terrell

8840 River Rise Drive
Memphis, Tennessee 3 801 8
Facsimile: 901 -366-3599

with copy to:

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(d)

(€)

Russell lohnson, Esq.

5100 Poplar Avenue, Suite 2749
Memphis, Tennessee 38117-4000
Facsimile: 901-753-7379

lf to Bemard Panchikal as a guarantor:

Bernard Panchikal

3221 Pointe Hill Cove
Memphis, Tennessee 38125
Facsimile: 901-

with a copy to:

Mark Grai, Esq.

The Winchester Law Firm
6060 Poplar Avenue, Suite 295
Memphis, Tennessee 3 8119
Facsimile: 901-869-0912

lf to the CitiCapital Lenders:

CitiCapital Commercial Corporation

450 Mamaroneck Avenue

4th Floor, Zone 8

Harrison, New York 10528

Attention: : Patricia G. McCormack,
Sr. Vice President

Facsimile: 914-899-7836

with a copy to:

Gregory R. Haworth, Esq.
Duane Morris LLP

744 Broad Street, Suite 1200
Newark, New Jersey 07102
Facsimile: 973-424-2001

And

Louis lay Miller, Esq.

Apperson, Crump & Maxwell, PLC
6000 Poplar Avenue

Memphis, Tennessee 381 19
Facsimile: 901-757-1296

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(i)

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lf to the BancorpSouth;

BancorpSouth Bank

Post Office Drawer 789

Tupelo, Mississippi 38802

Attention: David E. Ferrell,
Senior Vice President

Facsimile: 662~680-2261

with a copy to:

Les Alvis, Esq.

Riley, Caldwell, Cork & Alvis, P.A.
207 Court Street

Post Office Box 1836

Tupelo, Mississippi 3 8802~1836
Facsimile: 662-842-9032

If to Wachovia:

Wachovia Bank, N.A.
6445 Poplar Avenue, Suite 203
Memphis, Tennessee 38119
Attention: Andy Raine,

Vice President
Facsimile: 901-214-2339

with a copy to:

Andy Cobb, Esq.

6060 Poplar Avenue, Suite 450
Memphis, TN 36119
Facsimile: 901-682-4428

lf to The Belet Group, Inc. and/or Jacques H. Belet, 1111

The Belet Group, lnc.

117 West Jefferson

Bolivar, Tennessee 38008
Attention: Jacques H. Belet, 111
Facsimile: 731-659-2219

With a copy to:
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Cathy Homsby, Esq.
l-Iornsby Law Firrn, P.C.
101 N. Main Street

P.O. Box 477

Bolivar, Tennessee 38008
Facsimile: 731-658-9491

or, at such other addresses either may give notice to the other as herein provided Any notices
hereunder shall be deemed to have been given three (3) days after its deposit in the mails,
postage prepaid, or in the case of hand delivery, when delivered, or in the case of Facsimile,
when sent, or in the case of overnight courier mail and Federal Express, when delivered, or in the
case of telegraphic notice, when delivered to the telegraph company, addressed as aforesaid,
provided however that notice of a change of address, as hereinabove provided, shall be deemed
to have been given only when actually received by the party to which it is addressed

31. Existing Defaults. There exist defaults pursuant to the Lenders’ Loan
Documents that have occurred and continue through the date hereof Nothing contained herein
shall constitute a waiver or cure of the existing defaults or defaults under the Lenders’ Loan
Documents, if any, all of which are reserved and preserved

32. Conditions of Effectiveness. This Agreement shall become effective (the
“Effective Date”) upon being executed by all parties and made a part of a final order entered in
the District Court Action which shall be obtained with the cooperation of Obligors, including
Panchikal and Terrell.

33. Countergarts. This Agreement may be executed in any number of counterparts
and by different parties to this Agreement on separate counterparts each of which, when so
executed, shall be deemed an original, but such counterparts shall constitute one and the same
Agreement. Any signature delivered by a party by a facsimile transmission shall be deemed to
be an original signature hereto.

34. Miscellaneous. This Agreement and all Related Documents constitute the Par'ties
entire agreement concerning the subject matter hereof and supersedes any prior or
contemporaneous representations or agreements concerning the subject matter hereof not
contained herein. The Parties are not relying on any statements or representations other than
those found in this Agreement. This Agreement and the Related Documents shall inure to the
benefit of and are binding upon the parties hereto and their respective heirs, successors and
assigns, and shall be governed with respect to Obligors and each separate Lender, by the law
specified in such Lender’s Loan Documents ln the event of any dispute hereunder, the
prevailing party shall be entitled to recover all costs and attorneysl fees from the non-prevailing
parties Paragraph headings used herein are for convenience only and shall not be used to
interpret any term hereof. Each party executing this Agreement represents that he has the full
authority to do so. This Agreement has been drafted with input by all Parties and shall not be
construed against any Party in the event any term or provision is found to be ambiguous This

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Agreernent is supplemental to, and does not supersede or replace, the Lenders’ Loan Documents
ln the event of any conflict between any provisions of any Loan Document, this Agreement will
control.

28. Jug Trial Waiver. OBLIGORS, INCLUDING PANCHIKAL AND
TERRELL, AND LENDERS AGREE THAT, TO THE EX'I`ENT PERMITTED BY
APPLICABLE LAW, ANY SUI'I`, ACTION OR PROCEEDING, WHETHER CLAIM OR
COUNTERCLAIM, BROUGHT BY LENDERS OR OBLIGORS, ON OR WITH
RESPEC'I` TO THIS AGREEMENT OR THE LOAN DOCUMENTS OR ANY OTHER
DOCUMENTS RELATING TO THE LOANS OR THE DEALINGS OF THE PARTIES
WITH RESPECT HERETO OR THERETO, SHALL BE TRIED ONLY BY A COURT
AND NOT BY A JURY. LENDERS AND OBLIGORS EACH HEREBY KNOWINGLY,
VOLUNTARILY, IN'I`ENTIONALLY AND INTELLIGENTLY, AND WITH THE
ADVICE OF THEIR RESPECTIVE COUNSEL, WAIVE, TO THE EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT TO A TRIAL BY JURY IN ANY
SUCH SUIT, ACTION OR PROCEEDING. OBLIGORS ACKNOWLEDGE AND
AGREE THAT THIS SECTION IS A SPECIFIC AND MATERIAL ASPECT OF THIS
AGREEMENT AND THAT LENDERS WOULD NOT ENTER INT() THIS
AGREEMENT IF THE WAIVER SET FORTH IN THIS SEC'I`ION WAS NOT A PAR'I`
OF THIS AGREEMENT.

IN WITNESS WHEREOF, this Agreement has been duly executed as of the day and
year first written above.

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CTK,

By: ~_,___ ila -v-‘ '\'\/\~ ‘_""--_.-_-----
Name: GeorgeMerrell
Title: President, Chief Executive Officer and Director

STATE OF TENNESSEE ss
COUNTY OF SHELBY

On J`ul l , 2005, before me, C»lr\`€lrbll Afl'it/\Q//l fbi , Notary Public,
personally appej` GEORGE M. TERRELL, personally kndwn to theJ(or proved to me on the
basis of satisfactory evidence) to be President, Chief Executive Officer and Director of CTK,
lnc., and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
the entity upon behalf of which the person(s) acted, executed the instrument

Witness my hand and official seal.

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Notary Publlc

 

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Name: Georg . Terrell
Title: General Manager and Chief Manager

STATE OF TENNESSEE ss.
COUNTY OF Sl-IELBY

On jbl l § |' , 2005, before me, Cf»\~ei/ul A dthin ln) , Notary Public,
personally appeare George M. Terrell, personally known to-fne (or prc“)yv`§d to me on the basis of
satisfactory evidence) to be General Manager and Chief Manager of CTK Services, LLC, and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
and that by his/her/their Signature(s) on the instrument the person(s), or the entity upon behalf of
which the person(s) acted, executed the instrument

Witness my hand and official seal.

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Notary Pubrfl l l

 

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EQUIWNT ENGINEWY

By: P:’,\,- ¢'/ \/\ `\\‘~__--'"”'
Name: lG-dorgw'll/l. Terrell
Title: Chief Executive Officer

STATE OF TENNESSEE ss.
COUNTY OF Sl-IELBY

On 311 l j { l , 2005 before me, Cllu€l'ljf A .‘f‘l'lJ.D,Zi fill , Notary Public,
personally appeare George M. Terrell, personally known to) me (or prf)yed to me on the basis of
satisfactory evidence) to be Chief Executive Of`ficer of Equipment Engineering Company and
acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
which the person(s) acted, executed the instrument

Witness my hand and official seal.

distill/rf G. island/mr

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Notaiy Public

 

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,_. jy/

BER_NARD PANCHIKAL

STATE OF TENNESSEE ss.
COUNTY OF SHELBY

On `I'Hl:? l , 2005, before me, OQl/i€/W»{ld l-l~t/tlt’/i’|br, Notary Public,

personally appeare Berna.rd Panchikal, personally known to iiie (or pro`v}e/d to me on the basis of
satisfactory evidence) and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument

 

Witness my hand and official seal.

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Notary Publ'lc

 

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STATE OF TENNESSEE ss
COUNTY OF SHELBY

On distal z l , 2005, before me, Cf\wam id flaw fm , Notary Public,
personally appeared eorge M. Terrell, personally known to"'me (or prbifed to me on the basis of
satisfactory evidence) and acknowledged to me that he executed the same as his own free act and

deed

Witness my hand and official seal.

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ClTlCAPlTAL COMMERC]AL
CORP ORATlON

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Mz//r //r fnma/t /
Namei PatriciaG. McCormack
Title: Sr. Vice President

ClTlCAPITAL COMMERCIAL
LEASING CORPORATION

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By: l,rZr;rr/»,/¢'§//Wr/nwra ¢/
Name: Patricia G. McCormac
Title: Sr. Vice President

ClTlCORP DEL-LEASE, INC.

By "»;Z/M/r/»/ g7ff zfl/l/rr,t/

Name: PatriciaG. McCorrnack
Title: Sr. Vice President

Case 2:03-CV-02605-.]DB-STA Document 43 Filed 08/01/05 Page 30 of 111 Page|D 108
BANCORPSOUTH BANK

Name: David E. Ferrell
Title: Senior Vice President

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Case 2:03-CV-02605-.]DB-STA Document 43 Filed 08/01/05 Page 31 of 111 Page|D 109

WACHOVIA BANK

B,/{Q §§

Name: Thomas Crawford,
Title: Vice President

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Case 2:03-CV-02605-.]DB-STA Document 43 Filed 08/01/05 Page 32 of 111 Page|D 110

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THE BELET GROUP, INC.

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PANCHIKAL AND TERRELL’S CONSENT

Each of the undersigned acknowled

ges and consents to all terms and conditions set forth
in this Agreement.

 

d Panchikal/y

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George IVI.'Terrell

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EXHIBIT A

List of Claims. Suits and Causes of Action

Fred Vaccaro, et al. v. CTK, Inc. et al.
Shelbxr Countv Chancerv Court

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EXHIBIT B

Vehicles in Possession of Pachl_likal and Terrell

Vehicles in possession of George Terrell:
1995 Lexus GS300 s/n JTSJS47EXSOO96390; and
1999 Chrvsler Town & Countl'V Van S/n 1C46864L8XB749878

Vehicle in possession of Panchikal
1997 Lexus ES300 s/n JT8BF22G8V0025134

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Page|D 113

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EXHIBIT C

CitiCapital Lenders’ Collateral

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ADDENDUM TO EXHIBIT B

Notwithstanding any provision in the Agreement to the contrary,

Panchikal and CitiCapital Lenders agree that Panchikal does NOT have
possession of the 1997 Lexus ES300 s/n JTSBF22G3V0025134 or any keys to
such vehicle. Rather, such vehicle and all keys are in the possession
of CTK Services, LLC. Panchikal agrees, hcwever, that he has no legal
right, title, interest or ownership claim to such vehicle, and that
immediately upon the request of CitiCapital Lenders, he will cooperate

in taking all necessary steps to effect transfer of legal title to

such vehicle in accordance with instructions given by CitiCapital
Lenders; and that his failure to do so will constitute an Event of ‘
Default under this Settlement Agreement. (Q

 

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ADDENDUM TO EXHIBIT B

Notwithstanding any provision in the Agreement to the contrary,
Panchikal and CitiCapital Lenders agree that Panchikal does NOT have
possession of the 1997 Lexus ES300 s/n JTBBF22G8V0025134 or any keys to
such vehicle. Rather, such vehicle and all keys are in the possession
of CTK Services, LLC. Panchikal agrees, however, that he has no legal
rightr title, interest or ownership claim to such vehicle, and that
immediately upon the request of CitiCapital Lenders, he will cooperate
in taking all necessary steps to effect transfer of legal title to
such vehicle in accordance with instructions given by CitiCapital
Lenders; and that his failure to do so will constitute an Event of
Default under this Settlement Agreement. :

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ADDEN'DUM TO EXHIBIT E

Notwithstanding any provision in the Agreement to the contrary,
Panchikal and CitiCapital Lenders agree that Panchikal does NOT have
possession of the 1997 Lexus ES3OO s/n JTSBF22G8V0025134 or any keys to
such vehicle. Rather, such vehicle and all keys are in the possession
of CTK Services, LLC. Panchikal agrees, however, that he has no legal
right, title, interest or ownership claim to such vehicle, and that
immediately upon the request of Citicapital Lenders, he will cooperate
in taking all necessary steps to effect transfer of legal title to
such vehicle in accordance with instructions given by CitiCapital éj:
Lenders; and that his failure to do so will constitute an Event of
Default under this Settlement Agreement.

Case 2:03-CV-02605-.]DB-STA Document 43 Filed 08/01/05 Page 40 of 111 Page|D 118

ADDENDUM TO EXHIBIT B

Notwithstanding any provision in the Agreement to the contrary, if
Panchikal and CitiCapital Lenders agree that Panchikal does NOT have
possession of the 199? Lexus ESBOO s/n JTSBF22G8V0025134 or any keys to
such vehicle. Rather, such vehicle and all keys are in the possession
of CTK Services, LLC. Panchikal agrees, however, that he has no legal
right, title, interest or ownership claim to such vehicle, and that
immediately upon the request of CitiCapital Lenders, he will cooperate
in taking all necessary steps to effect transfer of legal title to
such vehicle in accordance with instructions given by CitiCapital
Lenders; and that his failure to do so will constitute an Event of
Default under this Settlement Agreement.

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ADDENDUH TO EXHIBIT B

Notwithstanding any provision in the Agreement to the contrary,
Panchikal and CitiCapital Lenders agree that Panchikal does NOT have
possession of the 1997 Lexus ES300 s/n JTSBF22G8V0025134 or any keys to
such vehicle. Rather, such vehicle and all keys are in the possession
of CTK Servicesr LLC. Panchikal agrees, however, that he has no legal
right, title, interest or ownership claim to such vehicle, and that
immediately upon the request of CitiCapital Lenders, he will cooperate
in taking all necessary steps to effect transfer of legal title to
such vehicle in accordance with instructions given by CitiCapital
Lenders; and that his failure to do so will constitute an Event of

Default under this Settlement Agreement.

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Exhibit “C”

CitiCapital Lenders Collateral

All assets of the Debtors including but not limited to all accounts cash proceeds certificates of
title, chattel paper, collaterai, claims and causes of action, commercial tort and contract claims
consig'nments, deposit accounts documents electronic chattel paper, equipment general
intangibles goods instruments inventory, investment prcperty, ietter-of-credit rights non- cash
proceeds proceeds promissory notes software, tangible chattel paper, material handling
equipment rolling stock, furniture, fixtures deposits causes of action, certificated securities
leases lease agreements lease contracts letters of credit, proceeds of letters of credit negotiable
instruments notes and security

accounts

See Asset Master List dated May 6, 2005 attached hereto which ls listing of personal property
which includes material handling equipment furniture and equipment

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U 8.8_.: __ 32 E._= .~ 88.“ =H.w or n 8._ q ._H.. _E_H<_ z_._¢ 323 HH_W$LS__M __T_z§m E_eu 82 F.~:§E
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. m .. . . . _ . £:.£ §__n...e§_=.&
8 88 1 non ._oc._ 8¢ ~ 8~ . 8" . 8b . § n § n $_EEEQ _u_§_>...~ u=_..u_w 381» .§£E “.Ea.:_: 82 388~3
883 38 =oc.~ 83 S“._ Sh._ 03.~ §.n 821 §_c§§v_m £::m_ _E¢ §o.=n_ ___q_a.§=¢ 83 ._m....c n.I.
_ _. §§ _,u_u._>§ u__=sm_ 384 . » . . ¢ .
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8 sss a .E.“ ¢co._ 02 _ § , am _. _E. m E.~ .. 8“ m _..Scb=r< _,EF .__£=.u uEH_w 385 HUE» __3€5_.2 32 §.~:22
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8 08 5 .1 38 .Eo._ § n 8" ¢ 8“ n 8a n § m _E. n 58 ..:E< HE ,__.Ea_u 93 §§ z“_uu". ______.§_: 82 8582:
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8 8~ z non 52 § ~ 38 m § m § _. § g =n. v §§ HE.< _n_; ibid u,_._ 38.“ E_ ~_.n~uu.._ z __=_n_z 82 _§..8¢8
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8 8~ 3 * 38 ~Eo,_ 98 n 8a n § . 08 ~. § q § __, 88 u»_£< _E§ §_.E_u 93 885 ibew __ h _: 82 .=._.Sm$~ .
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8 87 = ..3“ ~50._ 8~ n 8~ m 8~ n 83 § w 8" 5 :E_o&u__.. BE. §~_=G 93 285 XBE ._.._e=._: 88 :SSE= .
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8 8“ _» .E.n ._GE § m 03 n § v 8» _. er o § » §§ u..m“.< 15 v _=._i__u 93 386 EUE __§..==_: =8.. ¢ES¢E_ .
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8 80 .» m __E_.. 52 8a m 8“ n § v 8“ _. 52 c 8” h §§ u~¢h_< _EF._=E=G 05 286 EBE __._s _2 82 .__:~_88 .
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8 8“ a M 52 ¢QQ,_ 86 n 83 98 v 8“ v § o 8_.. h §§ u..E< _HR .§__§u u._._ BS.“ U_“UE _.=.e§_z 85 .::888 .
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8 8” a __ non ~_oo.~ 8c ,,. 8“ n § v 8“ .. 8b w 8~ n §§ umz... “E_.C__._.EG c__._ 38.“ ~_HUE 28 =._ 89 3=,8=8 .
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8 § : 1 38 .BQ._ § n § , § q 8” w ah o § h §§ u.E< _u.:.§zn_u 93 38.... xn~....o¢_ z__.=§=.. 88 8_8_;2 .
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8 8“ a …_ man =co._ 8a n 8,.. n § _. 8“ __ § o § h §§ u»E< _=E §2!.... o._._ 385 zw.&m"_ ._Z._._:_z 88 9 ES“E .
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8 8“ : m §§ .EE 89 m 8" m 8a .. 8“ ¢ _E. c 8“ h E.B u&,._< _E:. _§,_u_u 95 386 ,.»r._E .._ ._ _.. 88 .HSSS
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8 8“ =. _ 58 52 § ,,. 8“ n § + 8“ ». .E. q 8“ h ¢H~o.umw< ii §§ 93 38.“ ...~.Uu» __3__ _ ¢ 88 :mESm_u .
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8 8" z W non ~Ec.» 8c n 8“ . 8a .. 8“ w 8._. o § .. §§ u».m< _u=.~.§£.._u 95 38._.. EUE ___ 3 § 88 ._8383
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8 § z 8 52 8c ... § m 8c _. 8“ v 8_. w 8“ __. §§ 92_.. _Hc. .azau E,_ 38.“ ,_»UP._ §§ = 88 § 88
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8 8“ § m gm .Eo._ 8= n E“ , § .. 8“ , 83 8» h E.P¢ uzc< _uE. E___=_u u._._ 386 §.BE zi__u_.: 88 ;?=88 .
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8 8“ 3 _ 98 ¢oo._ 08 n 8“ . 8a .. 8“ w § a § ,.. §§ u&.._< =u__.r§..“..u u._._ 285 zm~uuh_ ___E_BE 89 :_WSES .
8 82 _ § .Eo,~ 83 83 83 =:..n 83 85 EE§ :SEE§_H£ :__E umm.=_ _B._. :3_¥£ .§_ <:8$3 .
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8 ann =_» 1 Z__ ._.zm¢ § : _.8 : 8a _.._ § : § § § § :E§SS:_ xa< §Ez ucE_w ES.» 82 §§ __E__ 82 _=:.;,§
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8 §. .5 _ vi EE. 8a 2 § m_ § : § 8 § r. § 8 ¢G:_ 95 255 »_.:~ ae:z u=_u_w .¢ §§ n=_:.mw..aE =.E__ 89 .$::SE
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8 8» .E= Emg 8. 8_ § an 8... § .EEB=~ za_ §§ 52 =§_£ umwa EEE,_.EH 355 §8§.._
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8 =G m _E= §§ m? 8" § 8.. R,.. § :.:$.<¢ u__£ §§ EEE a 3 __&m_~ Eu 52 R~E§h
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8 fm ....2 §§ =R 81 § Sw § § _ 2523 =__£ §§ uE..n_w 386 SSBE .= u 32 2885
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3 _ § 591 S» .. in , _E. .. on m § n in o nrc .o Es.._ 316 E§_w 385 . __.,_.SS» ."
1 L . . . ... .\ cm._ .En_um
co ocaw _ son .=Gc.~ ear ~ Q=. . _Sn ~ 3._. _ in v con .. §anm _.n.__u.»n_._.:um u..:uu_m _“N aim E_:=_u 52 335:.2
. l . ._c_uE._...,._E. . -
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. . _,. . ... L.. . . _ qu._.E._ . -
S §§ nw man ..Qo__ 82 TS , E.. .. § n =§ ... om,.. 4 2.:=._<. :_=¢ 5._._35“ u.=.§m 386 n ¢?=Bmum E_Eu 32 &...E§z_ .
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3 cmr _“ _ man zQO._ uaw ~ _oom n _Sm n 3m w § m on a =ES..~<_ d_¢_= am._E_.._m u=n.u_m §n.» mm.a..omu= w 33 mm$=$_u ¢
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5 am z _ ma ¢co._ 83 § n § n § ,. § ... gm m S_:~<_ n_.:_ 533 955 §§ 2 _§U= Ea.u §_ "_2§§ .
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3 sup _m _ upon =QO__ cch m _ccn .. _ccm m can v § m ann o nn:_._»<_ ..u_i_ E~._.=sm u_...gm §n.n mm.o»=mu¢ E_.Eu 33 m~n$..$_@ .
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8 S“ 3 _ »._=“ each § n _=S w _=8 v § w un,_. n cup _u _F&_~<_ dam q=.§_m u=_v,m 384 a._.a&nu~_ u §§ ¥=SSE
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3 cch § _ dam =QOH_ seem _=ao q _§ __ can ann n cmr q :m.$~§ 335 __=._.>Em B.:Bmw h§... §§nu¢ u 32 B§BE
. _ _ . _ . auE._._:¢_
. . §§ ¢ .
8 gm 3 _ gm =09_ § n _SQ ._ _S= .. § n QE. m ah a ~§_N§ :_.E nation u.=!w ~S=.v §EU= u §§ __._.S.._SE
1 . ~ . . . . . . o uu:£._=.~ .
S Sw 3 n scm .Ec,_ § n _§ w § ¢ 08 ... cr n ap a 2.$_¢<_ __q_.:_ ._:._Ezu uc_H_u ...Sa.,. elman E,eu 32 EH_SSE .
. __ _ _ w . . . . . 3_.¢ tap __ n =l.§u~_ Seu §_ . 2§££
3 3m » _ ma §§ § n § ¢ § v 03 n § w _E. v § » _ §§ ,_:.._==m Q=H_w ES._. » .
. . _ . . . . . l x~.._._.:=._ » .
3 3m § saw ¢QE 3a m aaa q § q § n ap m 22 ¢:.E~<_ §E.B._acm u_:§m 384 ¢To..anu~” E::u 32 §.._E '
. . . . . . . . . §=...=: , E.E .
3 3m G uaw 52 _§ n § q § _. § n own w ann m _E.._..<_ §§ ._:..anm ¥=H_m 384 ..I.&Gm_ u 32 283_§
. . . . _ . . . - §_ua.uam e ..
8 E_. a uaw ¢co._ _Sh n § m ann .. ap n _§ q _=N n ..¢S~w<. §§ _5._._5“ u..§_m _BB.M =n.¢§.m_ E_. u 39 &§E
. . . . . . _ un==._. _=... . . l
3 2_. 3 uaw =QE _S“ n S“ .. S“ .. can m _E.~ q _Ew p ~E:..m<_ §§ .m:._..__om u,=§_..., §§ 3 o»¢muz_ _E_.:u 32 &F¢SG .
09th m ¢cm ¢Gc..._ _=m... *§E; 03._ oan.d _oam._ _co“__ E».TR|.=_ _u§=._.._m .=.EE o_“_n>~ H._.Uu_m nn =u .€Eu»m §§ 32§=€ .
323 _ man ¢co._ _8_._ E~._ Ew_.. ¢E _ _S._.._ TS_~ _.§,£_u §.__Em .Sm u:_§» quE 2 _.u .c_:uE 92 omima .
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8 E~ 5 _ nom §§ E¢ ~ cf ¢ § n _S..\ n _Sn + § m §§ _E_\_. §z..=u c,_._ BS.A ur,._.E ~_E_ 35 :2~..52 .
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8 san :. new .Em.* § m ann n umw n _S“ .. M¢F n § h §.SS? 3“3.=._.__..6 .E_!m bn m_.,B» c.= 52 E»SSE
3,8“. 5 man moot So.n 33 ann 83 936 §§ nash .=._ :.:E. _u__i_§.=“m an 22 u.= §, ._EESH
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.nZ ~B»am eo_:=..uu¢ 352 232 ._au> U¢u_=uw » 55
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w 8_=8_$ _ § noon 85 83 ¢8.". 83 82 83 58.88< _E; 823 E.__HMM 83me ,_§e_=_: 88 48.,8¢8 .

Dl S.S=_G g § soon 884 83 §§ 82 =n_...@ 8..:`. =_E.u§h_< _.E:. 82:5 Q.SHM%M annum =En_._o=,_ 83 ._2.8_§=

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r.f||_ S.§,q M M.B QUDU §_n Su.m §_w. Sn.w n_mh..¢ §.,_. NmNnQ.UNmB< _.B:\_. :c.:._m=U G._:._§N.M Hnmuun._ , _. ... _: §H lamm-Bth

M 8.=8.¢ m 8 803 88.,,. 83 885 8“... 82 83 GM¢.HE< "Ec. 385 EJ.HHM znuE =_8_=__: 88 8;.88

_va 8.¢8_¢ w m __ ncaa SQ. n 83 83 83 828 82 nqn¢.u:."_< _EF§,=B EAY_~M 882 z.__.§_: 88 ._.._:8=8
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D¢ 888.$ _ ..8 ncaa 885 82 884 83 83 83 ~880§¢ §§ 885 cime E.BE ___,__._=._=... 88 888§ .
% 8...8.~» ` § 850 83 83 83 85 83 82 8~8.8&< ~EF .§..=_u EJ,U._~_.H…M HGE *__,m..§._: 88 8_88_: .
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H 888.3 __ § none QB.m 82 =8.,. 83 23 83.. an=.u...__h.< _E_._. B_._..G SA”HH_~H uang ._.88_: 88 ._,8888 .
3 8 88.¢ _ ma eeoc §.m S“.~ §._. 83 838 83 ¢nh~..._.umf< 8..:. 8___=5 E.~HM_M annum __8.__=._=._. §.». ._ _8,§8 .
..Al_.. 8.=8.$ _ 8 eeoc 83 83 886 83 85 8“.» §S.HE< _EF ,_._E=_,... u.: .HHMM 882 =..._§zz 88~ :88§ .
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m 88~.$ _ n a 83 82 85 88._. 85.. 88.: _E..: 82 5 _ .38_8..§_§.» §§ §§ §e..§£ 82 <888$ .

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v .B__QE=E._ zm._.._ owe M. E._E._:=U =._u> magic u:”a> ._§_q_:_...¢: »._..#EQ o:_=> _3_8¢¢ ._mQ.._ L

 

Case 2:

 

 

 

 

 

 

 

 

 

 

 

 

 

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3 33 W mm §§ 3m . 3m q 3... _ § r § n 8, v :_EEEH_ §§ E_a:a.m usda 384 .EHE z ._.__..=.~ §§ §§me
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E 5 s _.i~ §§ 83 §_~ §§ 83 23 and E_$u~E< =_ _…B_ 233 z,._.__:_=.. §_ :$:_$¢
w .E_._. EE§u 93 38 ...
. . r . . . -_ . . . .=:_£ .
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_ . . _ . . . . . =.“k._ l ¢
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added nn .__<_._ 23 R~_~ 82 83 end §._. :§.E_"E _E_._l §ES£ E.__.N_A_M,..H HE __§_.==_z 32 +S§mm~
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% S.=n. a k mm §§ § m § ... § .. S» q § o § n Sm¢uum¢ _uE. =_.___.=u u.~._.wH_Q_M 253 __E§.._.i 39 §§qu
l.l q . . . . . . t :_mu=v¢.~
Ud 3 93 a _ .E.~ §§ § n § m § ¢ 8“ .. §§ § h :m¢u.._."_< BE. =..z=_u 95 38.¢ u_wUE z§__._i 32 E_S¢_..B .
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DQW 8 § a n en =_E §§ 82 §... §§ §§ 33 :mo.u~:< _n_:. .__._._.._u Q._.__HMH §UE m..i_§_:_ 83 ::SEB .
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5 8 ._9. r.. d mm §§ § m § m § _. 83 § o § _P §&u,f< B.m. .a=_au 93 aaa EBE ..§a.__: 82 §BBS
m B.§.m _ wm §§ 83 §._. 83 83 82 33 “H§E< 35 555 §.F_NM oh.u$u& __=__.a=_.. 32 #§$E .
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0 S.E.S _ nn §§ _B$ §.“ _83. 33 §§ §§ ¢m$<mw_< _u.F u=._§u=,_ u,:.¥.~__=.whh_ umwa __5§=._:_ 82 §SE:
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OO . ~ _ ~P .
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w S.SR § ncaa S,.. § § §._ 82 82 minus =G 255 u§__u> §§ J.ME____G §§ m@z;§
n u_.=
_l_l S.EU § nooo on § § ah has MS“ ..:~:<_ §§ .5._=_£ E_v~__w hawn w.._.G.§. E._eu 32 ESS_E .
. c .- _ . . . . - tab § 53 .
3 8 § n § noon § , § n S“ n 23 § w § o §a:<_ u_._< zezz §th BS,M 2¢,=3= E,e,.._ §§ S§§"~
4 . .
m 82nd n § noon 83 82 33 83 gas §§ S~E~f use z§;.__H…HM.hMM_M_ S¢SE¢ E...G §§ %_..._§S .
€ ‘ .- w .- . . . . _ %.E. 5 §§
m 8 § a ,, § anna § » § , § n S“ _. § o on h ;3_~<_ uE< zEaz H_E_m 385 H¢SE= ._zau 32 ”§382. .
U , .- .- . . . _ . uu.=._. E._ ina .
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D S.S... a n § moon § m § n § n =2. m § q § n §_¢:a 35 _:.___=G “_=Eum hamm nod§ E,eu 52 &§S§.
. . . 1 ¢ ¢ . c . \ ' va a UE
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_l E.S= M. an none § §._ §._ ¢H._ E“.. .E... z=§n_ .=u EEE »_:.m_.cz_z __E=_;u 82 ._:=. _§._,
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_ S.H~.¢ § ann ap R:._ ___ HE...F.GSE Es.§qo = §§ n owm.m.uu.nmn __ S§N
% 2a a S...._ E__E ==Zu =_EG a___§.w< ____E£ annum .
. wh umw ... . = .
6 8 F|.u =S. 3m =E._ E- , 56 ._..SRE nE._ H:EH_< H_H a¢n.wuu.amn »_. QSQ§~
2 E_ .. _._.u~a » .. u .__=Eu §§ h . . ., uaw
0 S.AG E» Em § 33 . ~§ R_....._..GSS _=Ezuh_: §_.. n onn.wuu.n“n 5 233
_ ns ann _ H.u ¢_E¢_u =e:¢u 23 < ____u:om H_EHU §
V ¢$ § 255 52.. ..,__;= §§ on. m :§
C mw an 31 _ 335 EuE:un_._ Uw.nnn N ¢
_ ha n___.u eng ~.u._E aEq_U _._e=nu us=E?“< ==Eom §§
u . . GCQF
w .E._=__?r_l_ :m._.,_ usc ..E_., _EE=u ap 35 =w.. 5 ...+~.._..BS$ _._E EH==E_H..HS¢ n o“n.muu\nmn 2 385 .
. . u § r _ . so gunn =u:um unn.._§u
2 _E a ...___E==u o ._B> :_,E=u 25 .=a n u__e:= H.:::S u 3_=:1= §§ o»n.uud“... SQ... a w
u=_q> > n_ EuEEn=< _ . .
Y _:.E=E §§ §§ .=E=u E~_u .=EG §_EE: ._....M.E aaqu
a _ =__.:E._ .~_:u..a ..= n n Qm~..uu¢nmn S§N
. _=> hastie ha .qz _n_._ ovnu¢nv
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Bmmw< _m.&mu: ...z_
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m_n._n_a _cnu< _u.wn»¢ mmmm.m¢.m=_ ..m:m
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=E_=EQQ ~§.__3.
.=_EEQ.=__\ _€c__.._._=:_
adm .D_ E==._.\.__,.h~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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32 1 = c o c a §.EE ¢§.HG:G &,._,h=hw_m~_qw_w_.._._"_wnm.¢_.__v___iu…_m:¢_ EEH_.EM edna R§§N

313 _ a = a c __ q ..x=_.~= .5~..¢$$...... Esh__hHM__H__.__.M_HH.__~_H_H vS.Uud: 355 R§§~

3 2 _ = a c = o = E_.EE ~m.l_..m$§ ¢E._u.._,ww__"wnw_”_n_.u“_wm.v_%hom oz.muu.a? »__BG ..§BSN
3 ga _ E_ S_ 92 02 § S_.. estes za. ...SE_ .n: ___._HM._H__WU.M z~:E.E_..~ good §SSE
§§ m § § § Qw_ § § _§E.a=_ zB_ n 52 ___F.HM_,.MM ....~$:.znn u._n:u _SSEE
§§ _ S_ S_ q: an § § _Etaz Em_ d 52 .=HH......QH_M=H_._WM 2~=_.:3$ §un ESSS~
C¢GWM S_ ap $m- Om¢ an Sr. anE_uu=_ EM~ __ §§ E_~_u¥_:wu=muwnu_._h_n_wwd_ ENMQ_:FEn_mA RHU.=U BG§N
S_€: ” =: 81 an § § §._ .é_._;= _.Esn __Eu__.__..un,.w__ww_“..___h.“m,_amwm S.E,_.m_..¢ x_aau 2882.~
S.E» w § S_. § § § 35 HSRE,_ __2_..._=,.. 3_§_.»._.__§.__“..“ SS§EM »_.o=u _.S§SN
S.,..:“ H on § § __.S § 85 §_EE ___sz"_§~_w.“_.§wd SSEHM 255 §§~
S.E» 1 § § § _§_ § §._ _§~§2 __§z.hHHM_~_"M._….___.N_wM §o=.m§ 353 3§~
3 ns . _E. § ..._G § 32 25 .E:S.__ zi §§ ._ES.MEM_=H_HM_¢.M¢_M_QMM 33.$.§~ 253 »2._§$
3 md § § § _E. 8_.. =n._ _oEB£ 213 §§ =.=uH__WHHHh.___£.M...QMM §o.m__.m: § ~§8§
S.n§ _ § Sm § =2. =E._ Qm.. _ce.__=.__ .ém_ §§ =__E._H__H_,__HH>___.__,_L=QH .¢B.E.w: sane ~R_S§
843 _ § § § § 83 QH._ __.Ea,__ za_ §§ s__umw=_u,___H“,.__*zM_.=H §o.w_mn u_E:.u §§§3
S.BH § § ns § S_._ .E.... .uES._. z@ §§ .____u"_=..w¢u_._._H"M."__£z_HM EB.EH," u_E:u ~;_2§
comm § § ms § 8_.. __n._ §§ __..._.____,.,.H__H H"H..M.._._M._.MH EBEHM 155 §S§N
S.n._ia § § ms § S_.. _§._ B._§E E,H§H E_.uHMMMMH~___RHMM §.m__m: 305 :SSS~
S.H.r.~. umw E“ ab R,.. E.._ .=.m., ”.u_=n~z 3\.~¢...8§_ ==_ENMHMH»"_ME~HMM §.m__m“~ 355 ESBSN
333 w § § § .E. §._ 22 FE._B_._ §§ 353 =_._nmm.p=£_...»"__z..~h___% §.m._mm~ u_==d 2.,§$~
iam m § § § § 8 _ .~ an._ EEB,__ za_ 255 _=__ummw_.._u_wu._“__._£amm..,h §.»._wm 255 s§§~
S.mu M _.._H § E § 8_.. 32 .EEB_: zE §§ __.._uHMH_u._HM.._____cLM“_M §.Ew$ %na.,._ 8~§2_~

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343 03 § ns § S_._ =n._ EE§_. §§ §§ _§n__u.m.w,_.~_u=w%“___a~%_& §`m.m_£ 253 S~S§~
S.“E § § ms § 85 ¢n._ EEB.__ z._m_ §§ ¢znn._MM_HHN_._.._H_¢MM §`m._m: 153 E~S§~
S`WNHM =nv ah nbc anb S»._. n_wN._ _.._quu-_ z._mu Hh§@ _=__UHM=H._~_"“_GHHM____~._L`H»H §.MLHMH u__.numdU. $.Dmmrn._d.
E.mN|-ln =m' dam arm 921 nc_. - CHH.._ S.HEBG_ z_.m~ Nm§m _._w.-_mu".__.wum“._.w_m-__u_._nh__“h_m_n~r`m%~w.£m §.Emhm unn=o HENS§N
cia § § § § S_.. 35 .uES_._ 25 =:§ =anMMH.HM__MMM.M §.Emn shaw §§SN
B`hmd»n me. am nbc ah Sn.._ nm..n.~. »E.:uu=_ 7~._“3 _m§m E_JHHM=HN_HHAF£NMMH §W.mm_r.n udn=dU ¢OHSA_DDN
mm to nnO .-qn> »un.E_U usc aqu> E.E:U u:O hook _:E:U
dz _...Em ssaan 132 322 l=a> na__au . ._H_
§z£._zc: =m._.._ 35 $ .a:=.unu u=_q> _._»3:5§ q=_u> ..3§.»,=.._._ b.:_:c ~=_._> _!_EE \._E
mc._m: m=~l_ +Q¢w

293 nw m

m~mmm< _m:amu_=o

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> v_.._.U

 

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faced GSE{ __:._Em&\ Pc....__=_=
§~ .E ...._E§{._
0 3 2 n a o c “.. 3 _:.._..B beam __E.R 2.=§2: _=_.___.=, 83 >EBSS_
M 3 ca G 0 D 0 nw n? O_n_~r._».am._ bu=nm _~n».¢m h_.n_.m~ m__..__._==m §m >mmm§hm_
D E E _ = o o a 2. 2 2§3~_ §§ __§.E :.n_.s :_.____= 82 >EES;
Ud 33 * o o o g c. 2 2532 >_§.£ ___:.2 :.E.: ?s_._= 82 >_.§_8;
qu S.Cm h o 0 G 0 nw nw bn _H>.=.n_m__ _P._u=nm .__a>.dm m_.mH-»wn uu_.:_=:, §N >u ::Shm
1 32 _ o q o a ¢ 3 3_33~_ >_:__B ___:.£ 2.3_.2 Y__=_.E 32 >A.E_Ss
HH__ 89 _o q c o S. 2. 352 q zG_._..m._H\._MH exam ___:.2 §3_,5 m_=.__== §~ >$:__S:_
rm 845 n _S 3 § .=. § S~ ,.~_>,E__ n_M._n_.__.~_..__`HH_.M __,SE.: u_...___a 82 >3§§
N 35 M _=» _R 2 2. S~ S~ SE_.§ HM._.H....~__.…»_M,__.H_M ._.¢S_.~_ H_.____a 82 >ESS»
Ud S.E m 2 3 s.. 2. raw 3m _§_.=:a Mh=z=w`nwh_"w :.§2.2 ».__,__.a 33 >E§Su
DQ¢M R.E 2 z _S. S_ § § .E:s.._ z_§ §3~8 § .:»B_u §§ __.._w.,…_h :=2.>§5 o_u_u___._. 32 >E§;
5 E.Om. a n- _9 a d O n\m.*l_n~= __nl¢_..n@mme LE§HM_.__.“HMHHHHH_~¢“M`MM omn»mnvucmh uvhu-.nu g§~
M 32 n o o _o c o a ..ee.£ E.._..SEG EEM=LHMHHM_M…,,___MNWM on-muu¢: S§G. :§
qr
W 33 _ g c _Q a c o 355 :+.... .§E E..._u.HHBHHH..M..MW.M QH.UU.Q£ u§nu @§~
w 33 n a n o = = ___ _.u___a=_ $E.A§z ¢EW_M_,H_G=_N.H_HNMH_M o:.wuudz u_.s....._ §§N
M 33 ¢ a q q q _¢ §§E£§.._..Q§u __§_HHH_G...H.,__¢§..M_,HMM o:.muu.nm 333 §~
_l_l 32 a ..._ _.__ c o ___ _.£§=¥$~..~..G:s ¢E._WE=HM=MMHH_HNM oz.wuu,&~ 355 §3§~
M S.E q q a o o ___ 355 3d .E:B ¢§W.HHVEHHHM__WHN on.wuu.$" €uau »§N
m 33 v o a = g .. ___ ..u._EE _=E.GSG =E,_WMHMHMMNM_HMM omn.muu.n= u__a:u H§N.
m S_E , a a = a = _= ...__E§ BZ.._,.S:G ,_E~_H“.HMMMHHN.HH o:.muu¢£ 356 .,§83~
m 83 q c = a = _o ..x§.= S§..F.§E §LNHM=HNMH”YM o“n.w.d¢= 383 :SSE~
D S 5 = c n a a _¢ ..e_..é. §.~..¢GBS SBWNHM~HHHH_¢MMMM o:.wuu.en ._.u=u 2§§~
_AM 33 _ a a = a n ¢ ..e==¢. §~.._..G:$ §.Q.HHHMHMHHN_¢MHH omn.muu¢£ 335 SSSE~
Cw 33 n = c = n o ..u.__=.¢. SZ¢..G:G BEHHN.H__..MM“._HM o:.muu.n£ edna :§~
U 33 a 1 = = a q ..:=:E E_.~.._..§_§ §~….MH_B._=H___~M.._H¢.HH on.mdu.n: uqn=.u n§~
w 89 _ o _= ¢ = a o _.“_._==E G§.H§_E .,,EHHH_MHHN.“M.M on.muu.an 355 HSSS~
w S,E ~ o __ o ¢ ¢ a 355 ...s_~.._..§m._.¢ §HHB=HN=U==.._.¢N¢_._.._..HH ohn.quva§ 255 HSSSH
U 33 w o = = q = o E_E¢Z.$~..¢§E EW¢UHVEHHFMN“.~_§_H omn.muu.&» 253 SSSBH
W Mm ad U§.Q =~\P _§.P=Ju “:Q Mn> _qur._._u H=o Fa> H=MMLBU
Q_u ._u__§=_v .=z _..._.:m ¢£=__h_n_n Hu=q_.._ 222 §§ §E§u » _._!__
0 . .J §§ 25 $ _§_==___u :_¢> E,E=E §§ .a=a.~_..__._ rz_:c ..__._> E_hz 5a
2
Y m_._._®= m:_l_ ...on
a myomm< _m:nmo=.o
C he 22 > v_E

Nw._.: CN¢

 

u_x.~u_l~ ~umr¢¢. »o_.nm$h mcqm.mo\m= "m=w -__u=___=.uaq o...E=Qw.
muun._m._m "_uo¢:tn_

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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~E._Ea..___.. Anua==r_
13~ .E becqu
cn.,_.$ 2. E. ann com ann E_. SRH.§ __u“§_u beam ___§.om =awm.=_.mm= S»c§mn>
352 § 3 R_ SH 3m Sv §§qu _..Ea_u ts:= ___:._..n S...m.§.umn E§~_S>
E.E “_.. n_.. _E S~ E~ E.. @B£:> dean tag __E.£ E_Q.E.wE §ESS>
E ,:“ .:. 2 _§ S~ ann E_. ,..EB:> 355 d:_£ __=>.$. EE.E.QB SSBS>
353 § E. ¢2 8" 94 8_. §E:x 355 beam ._E.£ §.E.Ea 82 >Rm_§$
nw Pu n__. n._. _,._2 com own sav m.¢~.__:x __uu:.__u bu=»= ._a>.e~ R..:.mnn R_E >m“¢§§
am\ Sm m._. E. mm_ S~ ann co_. onmn:x ._u~._Eu .._.._u=_..a zo`..¢m nm.n_.mnn mom__ >nm§£
E.R» f s_. § B~ _…E.. 8“. _§.:x =EoG assn =E£ S.E.mmn §§ >§§$
=“.=m nn 2. =2 con ann now §= _HQ huwh£u .¢E=..m :o>.qm mud _¢wnc 32 >HSS@Q
S.E 2. § § 2~ EH Sv §:5. :Eo_u .ce=m __§.2 §._:.m§ 32 >G§¢E
ana E. 2. § S~ 33 MS.. S_:S~ :EE..._ bu=.= ___:.2 S.:.NE §§ >§§S
E.~B D. 2. 3_ § 2d S_. BEHQ :E.=_u bu=£ __e..£ ..s.___.mnn §§ >¢S§S
E.E “._. :. az SH an S.. §:N.§ :H:.u assn __o>¢n R.E.QE 32 >&E.§S
ana m,_. § § S~ am Q=. __\R.H<> zEH.... >.E.E ___;.2 m¢.E.mE §§ >$,_.S~.S
BHR 2 D.. ar S~ _.._: Sw _,n..n.~u._. E_E.u dean __2.2 R..E.mB 33 >E§Q
QEG n_.. &. “~_ cr ann Sn :.=.l¢<.., z“_£u r..._w= __.;.£ §.E.mB 33 >SN§E
=m.:w w n_.. nn an_ § ann S_. __.nm_".nx .qu_u rain ._u>.on ono_.m_.mmc w_.»cm$m>
¢“._;» 2 2 E_ § cum 3m 23~§ dwi_u >.§_E ssi EE.~_.N_S _=¢$S>
E._..E. mh mh n~_ =2 ann can m;ow:oo BmE_.u h:=_£.._ “o>.¢m nzc».E=m_ conn >_..§S
an‘...nn n__. 2. n.¢._ an end can Su€=>.. _uPEG Eu_="n =a>.£.. ¢m§.m_ E§m_$>
35 § on cum con sam a“.. env _Eu.:_...au .._< g_._n:u.._ .=_n .c=_m PE,.SE
3 3 n *yo o n a on 3 3553 bean ....>.§. :.SE.E . m_“_._==m. 83 >SESB
3 ca __ _o a a a on an w~_>:.a: _Eu=~m ._o>.$. __.S_w+~ u=_.=== conn >Ho_§um_
adm m _= o Mo c 3 on SUZ.E. ._cu§..m __a...ue :.i=w+n uu===¢ conn >S_ooomm_
33 a a o a T_~. cm ¢~:.3~_ bu=~m =E..H. ...:..£...~ w.=_=..@ §~ >~.$.Sa§_
S.E. a a = ¢ 2 mm _EEB=_ z_.£ G>.Sz .E__B ___:$ :.2._.~ 235 §_~ .>SBS§_
ca 3 = a o ~o ..... ...\_. ohw_$“¢n >._H== =a>.@m @m.m_;” mn_£_é § >mmu§._.m_
33 a a . = M..__ 3 $. §..:¢w dean __E.H S.~HB.E m._§__._ 33 >...:.SQE_
3 .=u 25 hon___._ “:B.:.U o_:u uuu> __._u...=_U u=_u .:H.r .=..FEU
.uz view .~=__E._UUQ _a_ue_.¢ a._§_¢ huff EE~=aU ¢ ._u.=_
__.._._§.._.: 55 EE .z ....m_==._.u 2_1> v~:E=E §§ =2§._=.._._ rico n.i> _..__EZ in

 

 

 

 

 

 

 

Case 2

 

mEm: mc_._ +aam
m~mmm< _m:n_muz_o

mn .5 _m m .*U mED_ > V__HU

 

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2153 _onm( ._EMME maom.mnwm= nQ_E z~v=_=~.~¢€. ou.._=__.~v.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2

 

m=o.q.._m_m unn_&_m EEQ.E.=€. bu=.?_:.£
§N .E. A__S_.£v.m
=:E n § 2 =2 § ann 3¢ 355 355 assn __9..2 =Sm.m _.Q_, mm§;>
B.E m § § Qm_ S~ in 8.. 3;:_> a»=..__u .¢~_.£ ___.s.£ ¢S¢.__.P, E_¢SQ>
_=.E m 2 2 § § § 8' :.:E_> bend .E__...= =§.2 mSm.=.§._ SESS>
S._E m § § e: § ann S.. 2325 =QEE_E=B __o_z# m§.»_.§, RESS>
E.:.h __ § § of S~ _:~ S' B:_E> univ assn __§.3 §3.2.§. _..ES:_>
ga m 2. § R_ S~ an S.. S;E> 350 exam __§.§ =§.E.§ E¢SS>
353 _ § 2 S.. S~ § Sv E:.S> dead beam §§ =§.2.§.. RSSE>
2 § § m__. nn =: an S~ 355 =s£u E=£ ..§.2 m§.£.n>, _B~ >E.:_EE
E.E 2 § md § E~ En @: §§ =~EG >.u=£ =2.2 _=..§.2.§, ..S§E>
E.E 2 § § o,.._ an S_H 3aan .E:.O bu_=d ~_§...~ §.E.m_= 82 >H_§E
=:G 2 2. no § § Sm $_$<~ =_m=..=u >.:=£ __E,_,~ §.~_.9, _S~ >_§=.~=
E_E n_. :. nn an ¢P.. § :_.z§ du._..,_u ._cu=£ __§...~ G~.B.Q> §§S>
ana ..._.. E. ar S~ ama S_. §m:§ :»_2.... bean __E.£ ERE,EQ._ 32 >QZSS
E._E 2 s.. ar S~ am S_. 33ng _»E£u E=_..n =e£n ".EE.¢G._ §_ > _¢ESE
515 § § at § § Sw. §§ mg §EG bu=£ iia %E_.» _u.~ 32 >H.§§
E.:..» 2. 2 =2 8~ EM 8q §=:§ .;u._zu esa =§S ..==_._:.EB 32 >S_§E_
E.E n,_. § an in En S_. EEEB =En_u rs=.= =.;\..#. m¢§.=u: §§ 332an
cfc § § § S~ an S_. w.._§m wm_..._.u Ev=£ __E¢m §:.Eu._ §§ >~S§_Q
§§ _ § § of S~ ann §. E.:_~E. 555 aaa =E..£ q»=_.»_u._ §§ >9\.§§
arm n n_.. :. =2 boom § S__ 2 §§ §=Eu _E=B §§ EE..:Q._ §§ >m§m§
=“.~B. “ 2 2 ar _S_.. cnn moon drme .=E:.u _E=B ._9,.¢~ o“a_.=c._ 32 >8833_
R,E W 2 2 an S... En Sv m..:§m ..»E:G >.E=d ___~Sn 22.__=: 32 > _S§S_
35 kw n. E. md E_ 3d § wang amiu .E__£ __2..¢~ p§».H_u._ 22 >¢n§£..L
E.E § 3 H_ 02 on Sn §§ ._u.en.u bag __E.$ h_§_..¢._u,_ §§ >_S§S
E.§ 2 § H_ § an 3m I~_§~. :_..:...u dana __§.Z "_S~.~.E 32 >NSSS
935 h 2 E. § an_ an Sm H$N=. :E£u dana __E.§ H_E.... G._ 32 >RSSQ
2 .E m § 2 § _E_ on Sm w-»§m 555 >.._2_£ *_§...~ m§§w._ §_ >J§@S
3a H 2 n__. an S~ own R=. §me dana __E___E ___.>._.: _=.._R.mE EESQ>
mm ha u:C .Hu> _:E:U unc .aa_.r _._._u..._=b »aQ .zu> EE:U
.oz E..~m garmon 352 u,_a_¢ ..B> UE»E.U ¢ §§
n£:.d_:e_._ =m.r\_ gmc oh serng n:_=> uu»U_:MQ u..__=.__r e=_:.._;=~_: .~_..~_¢G u=_o> 143-chow
mme mc_.._ +oam
m_mmm< _E&munmu
~q__q m.... a_. tv mco__._ > v._.HU

 

w_.2.5_._ _§»< :__w:_: m_=_~..m¢m¢ :._E

mcn§m._n nun_:

 

 

w=v==._.¢.~cq h.\.`_==»m.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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~E..E.:Ew .€=_$=__2
\ 33 _E bu=$.»u.
3 § ,_ a a = a 3 3 So§<x .E=E __E.I E.H_.~_ $_..__ >R§§
33 _" __ q q = 2 2 §~E<x bean __§+~ E.w~_.~_ §_ >R §§
813 ` o c o o wm 3 _.S~Q<.x >.E_£ §.$~ E.H_.~_ §. >m~.§£
S.E 1_ = a a __ 2 mm 3..._¢§ _5__5 ___;.»~ m_.n_.~_ QE§u>
33 w o o o o 2 2 :2_$¢.< bean __._I,~ 2.3_.2 _S... >£S.S¢
83 _ c q = __ mm mm 2§$§< team ._B.Z :.“~..2 _S~ >KS_S.
S.S _ o n o n 2 2 ::Q:._x :...__5 ___...4~ 2.»-.: :.ESE>
8 2 _ c q q o 3 2 §§ ru._£ __=i.~ _.uS_.: $~_§£>
33 a = c c 2 3 QSE ru_§_ __24~ _.oS_.~_ ZN¢S£>
33 a q o o 3 wm §§ n§£ ___;+H _.oS_.~_ “»~_§_;>
r| 3 3 q = o a 2 § »$.z§ assn =B+~ :.S_.E ~._S§m>
S,mh 2 2 8_ H_ § ann _£:ox =“.2.,._ .E=£ xii BE_.Q> SESG>
S.H 3 2 S_ n_.._ mm § G_Eux dma__u >.==£ __§.2 33 _.Q> 2.:§2>
E.WS. § .=. 8_ H_ § am :Em; =v=_u beam __.=,._.~ om.~_umm =S... >B _¢SS
33 3 2 8_ § § =“~ HG~<> :En_u Ea_£ ._S¢n B.. 53 iam >E 532
S_¢.G an 2 S_ N_ n~.». on HSEM_B BE=G .E__A_ gain oR.E.wB EESS>
863 _n 3 ah § H_ § R~ 523 .au_n_u .E=B __.;+~ “m.~_.m:a 82 >ASSB
S.n.& nn 2 § H_ a _:.¢. 323 .E_:_u exam ___:+~ $.~_.QE 32 >HBSS
S.E m S. § § 3 nm 03 .E.:x void .E=a ._§,.~ .H.~_.ma R....~ >S~_§S
263 2 3 S_ m~_ ....- ann S.F:x ._»m_£u team __§.K. E.~_.mE mix >EN§S
oo.wlrn on E. E_ _»:¢._ umw own q,_.,_....:x .au_u_u .E=B =a..+~ =n.m_.m_.d §§ FEN§S
93d _ § 3 § H_ § gm 335 555 du___a ___E..\= SE._:.B ESQQ>
S..~,~... m am 3 81 H_ a an _~§;~_ .a»§u .E__£ __§.2 »ES.»_.G @G§E>
S.E 3 R § § § 02 ~EE.:=_ hu_:_u .c»=£ _HE+~ =¢R.~_._u SSSB>
33 § R § n~_ § on 32_2.¢ 556 .E._£ _a$~ §...r..~_..u SMSHM_>
S.r..» =“ 2 § n_ mm ann §§ :E deem a»__£ __E...N SG.~__-G RESS>
S.nh _ 2 2 S_ 3 mm on ¢an§ :E£u bean 572 923 _>2 83 >~ES=$
S.n.& d 3 3 9: 3_ 3a own 253 =wE.u .E__£ §§ nnxS_>E 83 >ESEE
mm _ ha ..EO .:~u> ._=E:U o:O hand _uo.r:.U usc hed> _:u.r.:U
, .._z _...Em .a=__.$ua 352 ii :a> nE.Eu . ._a_
§._5._§: =w.£ _ 35 a E.=_=_=_u §§ EBE.E §_..> .._._=..___==J ..._:_:o uh__..> 532 =£

 

Case 2:

Nn_.un.mm

mEE_ mci +EE
_m“mmm< _E_am£=u
wo mco_ .> ...C.u

 

_
m_¢..:.~._ pound .z:.mns_ maan.m=.ma "u=m
2923 "v.._==m

2352qu uuk:cu.
__E._E..Ev. .€_...~_=_=
§~ .: §_EE.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A_. 23 _ a = a o 2 2 2 _§; §§ __e.+~ ¢=.2 :§§>
M._ B.E = c m o 2 mm _::.EE .E,_E __§.Z. ..G.~. 23§§
m cedn a c c a mm nn :__..mo; du__n¢ _,u>.vm _.mm.n~ c_wao$_w>
0 33 a a = o 2 2 2:.$.; as_£___;...~ ,.E.D ,..GSS¢>
Dl 32 = o o = 3 3 2535 Ea_£ ___;..__~ _.S.B »_§m>
1 a.u.=w o o o o wm nn § :._G:_ >.§=o __aa.vm _.mw.m‘ Sc§um>
HH__ S.S ,._ a a c mm nn E_SqE .c“__~a =9.+~ _.S.~_ ...\,@33@>
...|
O E.E = o o a 2 2 353 au_.n= ___s._.~ _.S.~_ ...~..~BS»>
% 83 a a a = mm 2 ¢~:3; _E=B __E.»~ 122 £¢§m>
MM. adm o c c _... mm mm m___.w¢; ¢u=...u zo>.~.m _.mm.§ m~w§am>
Dl S.E ._ a o a c 3 nn : ca :.= .E=E __E.'~ _.S.§ §§
% 3 3 _ o a o = mm 2 ~:.S_§ bu.== __s.i _.S.H_ “SSSQ>
w 3 3 c a o o nn 3 n:.§§ assn =E...H _.$.d §§
m oo.cm a o o c nn mm n:.¢c;m donna ._o....wn _.r.m.m__ §n>
w adm c = a c nn nn c:.wo”m~_ .€u=nn __u>¢em ~.r.m.m_ §m>
._M_|H.v 83 a a a a 2 2 __.:.S;¢ EEE =_;+~ _.S.E E§Sm>
S_S a a q q 3 2 m:.S;= 5=£ “_S.....~ ,.2.~_ 23§~>
M 2 2 = o o n 2 2 382§ bean =2+~ _.H\...“ ~USS->
m 35 q = c a 2 mm HE£§ hug ._S.+N _.$.~_ _~38£>
m adm a a o o mm mm SE__._._K &u=nm __u__..v~ m¢.¢n~rm_ nlcna@m>
m o=.zm c a 1 o nn nn mc.¢..SE >.._n=nm __ST¥.. :US_.N_ n_wawa¢m>
D 33 M o o o a mm wm ESS<x .cu_=£ =a>..,~ E.rl..._.~_ 52 >S_SS»
_Aln S.E _ o o n _= mm mm __._ENS§ .A._»=B __._...L _"_.m~_.~_ 32 >.m§$~
Q_v E_E _ a a a o mm 2 ~E~R.<x team ___;.»~ _"..H,."_ §§ >..n:x€m
U 3 am _ o o o a nn nn mwamnm<k Eu.=no =a>._._., E.md,_.m_ mae >mn_oooum
w S\E H_ o n a n nn mm S¢NR<x 525 .._:+~ _%n..._.~_ §_ >H_§§
w co am _ a a c a nn mm ~m=mm...<.x human ==>....e. ~m.n_,~_ ga >m:om_wom
U_ S.E a a c o 2 nn §q~€<x dean __E+~ _,,_.w.:.z §§ >u:§£
FVv wm be ucc h¢u> EE=U oe¢ .=..o.# _=o.r:_U ucc \:_d> ¢E:U
Q_u az ibm §=."En_= 352 232 :a> _u..._:=.u . 25
A.U. =..__§m.&i 55 u,._= d .a==:au 2____> _EB..E= xii .:._.2._=3.._ »_.E_._o ».._._> 332 .__._.._

 

Case 2

 

 

 

 

 

 

 

mn__n+wm

 

mEE_ mci +Sw
m~omw< gamqu

ho m:o_

.> ¥PO

 

_
m_»._m] 534 ::_“NE nnan.uo.m= E_E

mumn_.m._m una_:t&

=B=E,§Q u.r.=£.
_:EE ..._5._ _€E,=:__ __

33 .Q b§§,.~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 3 _ a o q = 2 mm finch .S._.__ __E.z :.Sm.: §§3>
H E_E = c o q n § 322 .E__:_ ._E...~ .._.»~_w.§ S~=w§>
m SE n ¢ _H_ a 2 n .~.S:wx esa __E.Z w_.“~_w.~_ _SB.._§>
m 32 q = o n 2 : Q.H.~<>< esa .§..L _.H_w.: 82 >¢§§
me 8 § q = __ o n 3 2532 .EE= __§4~ ISE.E §§ >__:§S
82 n o n = n 3 2;:§< E=B __§.z _S_m.~_ §§ .am§§
HH__ E.S o q _. n 2 2 _E...=x< _E_E_ ._..s.m ~.85..: 52 >Q“»§£
r.| 33 a c n = 2 wm ~:H:x... .E=£ __2+~ _.8_.“..2 22 >E§§
7 82 q o a o 3 H n:_=:x< .c§.= __2,»~ _.S_w.~_ §. >:§§
9 S.S. __ 1 a o 3 nn ..2_=:~3.. .E=B ___.._.H 783-d §_ >E§£
W.n` 82 _¢ o *= n mm 2 E_§s .E__£ __§+~ S.Q.n.~_ :§S§
33 = a _o q nn 3 ..E..§: ruEm _M§...~ B.n,_.a.~_ ~BES¢>
_-/u 82 o = _= c 3 3 932 _E_== __E...~ :.a.n.~_ E§=>
m 32 o ._ n o “__.. 3 =__R_S ru_== .:;...~ 2...___.~_ I§S~>
onun 33 q a a n 3 3 ~EQ.§ .E=.= __E..~ 2.3.~_ §8§>
.M E 2 a _._ q a mm § E_E.GL §§ =.;.m. :.=.~_ §8§>
W 83 = c = n z 3 n.._a:£ au__£ sain :.E.~_ §8§>
Q 35 q = __ c 3 ...~ H:R_B assn ._B.q~ :.3.~_ :3§§
.T. S.E ¢ _= = __ n mm n _ §§ _€__£ e;+~ 2.=.~_ =SS§>
m §§ c o q _. n 2 :_E_E _€=B »___Z~ 2.$: _§§~>
U E.E = n ... q m 2 2;:£ .E__a __..>.z" :.S.~_ ¢GS§>
DW 35 _. _. = a m 3 : §§ :u_=.= __9+~ :.E.~_ m§§>
\ S._= = ¢ a n 2 2 E§..§ ...§:= __E.z :.2.2 ~.H§S§_
U. S.E m m n ¢ o 2 § _:§.§_ dean _._:.»~ :.S..: n§§>
RH S.¢» n a __ o ...... nn 255 dean ~_E.Z 2.3.~_ 2§~>
1v 32 o a o q mm a S=EE~ .E_E. ._¢>+~ 2.3.2 Bn§£>
MW S.E o o m __ nn 2 S=E; bu=£ __S+~ _.B.....“ :S§§
OM S.E = __ o n mm 2 =:BE__ bean __.:._a _.2.2 »GSS»>
nuw 3 bn 25 ...u> _=u_.:€ ¢..C ..¢u> :.E.~=U 35 ._¢u> __._E_._u
C .__z ibm ._3_,_.:..§= 122 xi ..5_.. uE__=G . 55
3 E=.§=__B =m._.._ u=.= m .a._=.sd .___q> ._.:n.._.E ~_._._> S_E__=¢: €§5 §§ :._.a_f_£
A./m
€ ,. mEo= o:_._ +=am
% Banm< _m:nmo_xu
C ~Ee mm o he mEO_ > XPU

 

355 322 :__w.£ m==~.m=é= H_E
wausau :::=§

_

.:_..v___=.:ubq N.u.=a.w.

_.EG.ES~ `_..q_ua==.:
§m .E b===_i.._.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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u_i> =.__5__=5._ §qu

 

 

§=._> U..HE .:d..~

 

_..| S.Qw ` a c a n mv mv mcgowan .¢u:nn ==>.wn :..\.N_.m» vm__cc._.m>
E.E d q q _. = 2 $ E_~$: §§ __§.$ _:SI: S:SB>
B._= q c a = 3 2 3_§; §§ ,__:.2 :.r.._-: §_S;>
E.E o = = c 3 2 means .€_§._E£ :.E.: S:E;>
32 = q ¢ = 3 3 S:S: beam __21£ :.HI: £:SS>
32 , = = c o 3 m_. 2 §§ >.§_£ ___:.H :.E.E 5 _3;>
33 m a = q a. § _:~S:_ b».=n __9£= ,:.R_.E £:EE>
E.E o o o n n. _.... ~:~S; >.§§ ___:.2 :.H_.»_ SZSE>
313 o a q c 2. 3 _.:~S; b~__a __2¢~ :.H_.E S:SS>
S.S. = a n c 91 m_. EEE bu._£ __._i: :.H_.E $~§z>
82 _. _. .. = 3 m_. SEE .E_.£ __e..: :.§Z: S:§..>
S.E q g = = ¢ 2 ¢:..E= .EE= __§.¢m :.H_.: §§:5
E 3 = a n a 2 :. »E§ team ila :.n_.: 5§5>
3 3 = __ o = 2. 21 EEE §§ =_:¢H :.E._= §_8:>
2 3 _ = g n = 2 n. _2:3 E__a ___;.2 _:.H_.: ::S;>
S.S “ = z o o 3 3 Em~..b~< _c~=£ __.:.£ :.H..E §~ >SSE;
S.._” = q a o $ ¢ :_S_"z._. b..=a__ ___:.2 :.n_.= _S~ >EEQS
S.E o = o __ 3 w_. z _SEE. bean ._E.£ : .E.»_ _8~ >ESEE
33 q o n a =. :. : _SE.:. __.,§_£ _"§.§ :.§.E _SH >EEES
32 __ ¢ o a m.. “_. .EE~.G E__£ ,__:¢M E.: S:S:_>
82 c q o a $ 3 S.E:=_ 223 __.;.E 322 § §§
813 c __ = = :. 21 §BEL dana ._E.B .“._w..._ 2 5~_§__>
S.E a n ¢ = 2 3 :_ 552 .E__s _§+~ :.§_.~_ 32 >_"_z§£
q 83 = o _.._ n nn nn ~: 352 .€__£ =.Z~ n_.$m.~_ §_ >_GE§
m 83 n o o = o nn 2 §§ E_$. beam __.;+n :.Sw.~_ 33 >K~§w
_l_ S.E n c o a = 2 3 E~SE> >.=__£ =.:.I :.:m.m_ S~SS.>
_M 32 n _. ¢ g 3 n §§ .E__~_.,.. __E+~ :Sm_.~_ m§_§>
Rv|
mn. 3 3 n o n a wm wm mh:.___mx 1aqu __E...~ :.SE.H_ 2__.8$~>
mm nn to u=G huu.# _:E~_..U ago ah :_.E_~U H._u hud _:u._._.-U
dc §._um senatan _x_o_.~ »__._E .:B... uE:=G . .==_
=u=§.=£¢_ =m._.._ 35 d =E=,_:=.u u==.> u&.n.=:n

 

Case 2 W

Nn`n md m

 

»o moor

mEB_ mci +aam
m~mmm< _u:amu_:o
> v_._.U

 

_
m_._.E._ _=G< E_.mm: m=ow.u=.m= H_E =;=._=.SQ E..=Qm
SS_._E ..u..._==m

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

__E..EB_:\ A€=_:_=_I
_ §§ .I bs:%.._.
83 _ q = __ a 3 § ~_ §§ §§ __...:: >,n_.£ § §E_>
7 83 q o n a nw 5 :£§x E__£ =2£ E.§.E ge >“E§B
»Al_._ . .
D 3 9 = a = c 3 3 353 §§ __E.£ E,m~_.£ §§ >3_§~.;
m 25 c ._ o o 3 § ~.-~R.ux E=E §§ E.E.E 32 >§§;
g
DQ¢M S.E . a m q o 3 3 s..$;ux .€=a __E¢n E.w._.: 32 >G_=§E
§§ c o = c 2 3 E;Suz esa __E.£ E.H_.m 32 >S§Em
1 . , -
1 3 9 = __ = = $ 2. _=E§ux §§ __eI: _..2; .E §§ >G§E
1
r.l 83 o q Q n 9 2 :EHS». .E_§ .E..R E.n:.: §§ >§§S
O
9 83 c o c c 3 9 ,E§ux ....§.B __._£~ E.n_.£ 32 >§§S
6
e cada . o o o a mv vi nw__.nnnbx >..B=nu __o>dm _L.n_.m_ moon >atm.amm_$
Cv
a 32 = o = o 2 2 _E=S~ ..E=E __.:.3 E.E.E §. >E..§_E
P
32 = q o = 3 2 3___=3: §§ __.;.£ :.m _ ._= 82 32 §§
5
O 33 = a a = 2 :. 3;,3: E__.= §§ :.w~_.: 88 __.::S;
/
1 .
0 32 n c a n mv 2 S_..~S<x tenn __9..2 __._.n_,! §§ 32 :=..B
w 33 c = = o 3 c. E$R<x .E_.£ =§.£ :.E._: §§ >£ _ §§
w 33 = a q = :. § S;R<x §§ __q..¢n :.E.: 23 >$_ §§
._H 33 o n c = 2. ¥ RBR_.R .E=S ___:.E 2.§.__ §_ 25 _ §§
3 33 = = = a 2 $ §_§<x §§ __§.E :.n_.z §§ >E§S
.T 33 q a c = 2 _=. RBE<x .o»__S _=s.¢~ ..._.H_._: 32 >H:RQ
n
m 33 n = g a 3 :. E:R<x §§ __ER :.E._: §_ __:: §§
H 33 o = a = 3 :, §E~¢<x .5=.= _.E.B _.._._..~_.._ 32 >~2 §§
nn 33 q = Q c nw =. RE_..¢§ ...§_.m =2$ :.n_.: 32 >m::§
. 32 b o ._ q 2 2 §ES§ .€.E~ §§ ._._.n_ .: 32 32 _ §
UJI S.S _u = ¢ o 2 2 E_E..ux nga =§.E :.E._= _§_ >_,§5
B S.S q a a = 2 3 SSQE .E=E ___:.2 :.H_._: §_ >§§B
1a S.=» c = = = 3 mo SHS;_ dean .".:.2 :.H..E §:SE>
_l
MW E.E = = _= ._ 3 3 S_~$_m §§ __E.H ,_._.H_.E ...: _S;>
h
2 32 a __ c ¢ 3 ¢ 3_~3; E..E 322 :.H_.z £:S;>.
n\r
_V wm bn u=O nu»> ._.»».::U u_._Q .=u>. ._=u._.:»n_ o=D .__du>. ¢BC=U
T' d ¢_. .._
_ z ibm 25 nunn E._i ..=_=E .n___, :E_§.,.. . :__
0 §._§._.__J .._m.S 35 a .._.__==...u ..__.> _.=E_.B :..¢> __.=§=,i armco §§ vii b_E L
2
€ mEE__ ¢:_._ +aam
% m~mmm< _m:amuz_o
C ~,...B .E = wo m:o_ > vE..U

 

Case 2

_
w_.Ew..\_ _umm¢_ =;w.n.._ m=nn.mo\mn E=L

.__Ev_..`__C_CQ muh..:u.w¢

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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mnmn._m_m :.:::_..L _u!_u._m__..`_.. z..=c.o._::
man .2 .S§~E.
o=.cm o a d c m_. me mmmon__._¥ _c_u=»¢ __._o>.en n_.n~_N.-_ u...m_om_..a>
adm _u o a o nw nw hoga_\_k< >wu=nm :aa.am Tu\n_...`~.m_ §n >nn_.§_.n
53 __ a o a nw ne _o~n:<>< .E=E__E.um _.H_m.n_ 32 >S:SE
oa\n_v. n a c c 2 nw mo~n,..~d>.< .ca=nm __E..mm ».m._.._w`m_ 33 >onv_mn.h.m
E.E = a o c n_. m_. _.._..omm_u>< _Co_:n._a>.mm _.n~_u.m_ SE.. >S~§S
E.=.H o a o o 9 n_. ¢BS_u>< E»=E __E,.H _.H_m.n_ soon >G~=EE
S.cw _= n a a m_. me moor§x .DE=B __E..wn ”.S..Hm.u_ 232$>
adm ___ c c a nw nw _E.En”<.v. Pu:nm __E..¢m ¢~..on:m\m” anm§._.=>
B.cn o a a n E. 3 mm§:x Eu=nn =o>.¢m _N.E_w.§ _EE¢B.=>
adm a o = o n_. nw FE_.US »._u_=.d :a>ém nc,.....§ H~oomm$>
S.¢» a a n o me nw mgvam .w._u_._w¢ :c»\om ncm.n_ nnoomonw>
cada m o o a nw v._. ww».>z.aw .cu:qn .=n>._om :¢nu.: ccom >_ _nccchm
adm a _o n o mw n_. no_o_.oh,_ Eu=”m __a>.om 33_.3 mo _ _Qo,_.m>
Sdn o c o o nw ne 229th .C.._:”u =E..am >»nn_.n_ 3 _ “S,_.n_._
adm _a a a a mv $. 353: .¢u=nm=o>.on BmH_.m_ Z:S;>
oo.om T _.... = c ...v E. 35ng d»=_.d _"u>.wn __z....¢.”.¢_ E ~ _SE_..
3.3 *= o a n 3 mv monon=._ ._cs_a =e>.un >.,mm_.¢_ ,m£ :x=.m>
S.E n o o a E. 9. E 522 .cu__¢n _m§.u~ >$.m_._: E_._ _H=.m>
33 a a o c nw nw 3___...:2 >.==S __=,.om >_.nn_.m_ .D..__SS>
.E.E a o o c nw we _Eonn; .co:"= :.:..um >,nn_,§ E: __H_...n>
S.E, o q a o 2. n.. B_onn; rain __E..un 33 72 3 _ S=S>
8 am _ c o o o m_. ne SEGE >.._u=dm ._E>.on ZH~.E 92 _S,..m>
cada a G a o nw nw gann-m Eu:ua =a.._»un ann-iu _h_.._B__.m>
S.am a n o c mv n.. mo_£..n$ bean ._=>.¢m >,m.¢._.m_ ab EE=>
cc.=.». c o dc c nw nw _.bEmm;. .¢u=.na again Zmn_.m_ vw:cahm>
S.E o ___ c o D. _=. ESRE main =u>.._n _...,H_.E n_._ _EE>
on.ow o _= n o nw nw m=_a:;_ >..E=nn .__n>.om >»nn_.m_ ¢,..__E~u>
co.cm a n o a m_. ne 2 _omm;_ d~=nn =o>.mn >$.m_.w~ mh:oo`.m>
3 bn 35 hub EE.:_U E._O .:E> Eptuu 25 ._3._.. _E.:ou
dz atm =e=&.nn.n 332 334 .:_.> EE:SU . 55
=u__=_._=~_: .=m._.._ usa $ .E==E_~U H=§. .H_.u._§n u£=> nq=q_:=r: h_h_fc u=_=> _!_.:.E bow
wEB_ 25 iam

....;...__c mm m_

233 _EaS=G

»n mco_.

> vC.U

 

_
n_n._n_.._ .nwn< .::ma: mannime "o__m

mn.uN__mE uua-E~L

=_E..:_.BQ H..=cv.
Hc:E§€ S§~=...=
§m .Q T==.£».._.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

9 nn _..._u c c a n nw nw wcnm£¢_x _Eu__nm __u>.on __._.wd_m.w_ mwn_omhn>
»Al_._ S.ow a o o a ne w.. w=~S_.._x bu.:= __E..mn ,_._.wn_m.m_ $:.B_:_>
m S.S n = a = mw D. SNS_.E baum =§.§ :.»NE.E ,..: .S_..w>
0 cc.cm u c n a nw me ,..=~oo:x »C£=..m xo>,om ~._._».m_u.m_ 52_~__.._2_>
Dl ce.en _ n o n a nw nw wo.lhu~¢_¥ _Cu=qn =n._..¢._m R,nn_wé_ €m_mmB>
1 moon _ = o o a S. mw mcn$.__._x __cu=n¢ ._E.,mn _._.m~_m.m. omn_mo_k>
1 adm _ c o a c nw nw =~mm_:.“x Eu=n_= =u...mm __._.w~_m.¢_ _~n_om$>
rm E.=» n o o n n U. ..._, :....S_‘§ _EE= ._§.@n __._.S_m.m_ -_ER.E>
_»/ S`on _ a c c = nw nw m_wmo_..;. burns =oaén h_.m.n”m.m_ H~ZZS>
Wv oo.=m _ a c o n 2. nw E.SE._K Eu=n¢ .“e>.cm __.-.m~.m.m_ ..~235>
Dl oc.=n a c c a 2. mv w__nou_.._x _r_u:n= :o>dm a_.n~_u,_= omn_mo~u>
_..1 coin o n T c mv 3 m _mm£._x _§=nn ._a.».en E.rd_u._: 32 SE>
w S.¢n _ c o in c 2. nw c=mw~._¥. .Cu=n= __E..cn _._.r.....~m.§ _..¢rn=.\_mhm>
O/O oc.um _ u n o a 2. m_. n~nmu§¥. roman :ua.on F__.n_m.= mmm_..._m$>
d cc.cn _ o a -n o m_. nw m_~mo_l_x duane =o.».¢m v_.“w_m.a~ nnm;mhm>
M usda m o a _a o nw mv om.o.=f._x annum ._a?om __._.Wm_m.= _=_SE>
_l_l adm _ c a _a ~o mv 3 _EY.._H Eu=q==a».¢m =.mm_m_..= mmn_¢¢E>
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v m m w m 9 350 mz _3£930 530 v
m 3 5 2 2 cm §§ 350 02 300 §._33 05 §0=0 v
m 2 § § 2 am 500 350 02 950 _3_30 01 330 w
v m 0 m m 3 500 350 02 330 v
3 mr § m_. wm am 350 02 335 v __3_30 30 v
2 am mm mm mm 3 350 02 3=330 .33_3_0 w
0 2 § 2 2 gm 350 02 3=390 530 5
v m 0 m m 2 350 mz 530 w 3=330 .5_3$_30 v
3 02 § v mmp 02 80 §§ 350 02 525va 200 __@0 `35030 F
o v v w w m 500 350 02 330 .EE=u_mu F
mm gm ___m mm § 00 350 02 3=330 _0_30 v
c 0 o o
v m 0 0 m 0_. 350 >>_. 220 5ch m
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v m w 0 m 2. 350 >2. _m:m_m._umm ..._mcu w
m E __. mr § am 520 350 >>_, SN_. 333 01 3500 w
v m 0 w m 2 300 350 >>0_ 330 v
mm 2:. mi mN_ 03 30 33 350 25 E§>wom.._ z__m __00 0 35030 F
m 0_. 5 m_. m_. am 355 >>5 _m:m_m:umm .xmmn_ F
0 o 0 o
3 mm mm mm mm S. _Em.m._ 335 m ..3_30 25 »
m 2 2 2 E. QN 53 0an 330 0_._ 3_=_00 »
mm 02 mi 09 09 com 33 Eo>>womh_ z__m __00 220030 v
v m 0 0 m 2 250 .35_3_00 F
v m m m m 2 §§ 330 5
v m m 0 m 9 350 00 30 530 ~
v m m m m 2 350 00 _3£230 530 _
v m m 0 0 3 500 350 00 320 v
m 2 f § 0__ 00 350 00 3_0030 530 v
m 2 § § § 00 350 00 5_§£30 530 w
0 o 0 0
v m 0 0 m 2 500 350 00 352 _322 3505 .33390 225 w
F N N m v v 350 00 3_3: 330 v
m 2 v 5 § § o~ 350 0< 0_3_230 .3=330 v
q m m m m or 350 0< _mtm_m:umm 5sz F
q m m m m 2 raw 350 00 330 v
3 mr 2 2 5 am 350 0< 335 q _E£n_mo 050 w
m E § § 9 gm 350 0< 335 ~ _3_30 200 v
mm 03 mi 03 § 30 300 350 00 §.0m~00 250 =00 0 3.=0§_0 F
0 0 _. v w N 350 0< 330 ,3_0_3_,~0 v
m 2 § 2 2 am 350 0< _3£230 530 v
_.._D==QE°U nunn mmm_._u.=._nm co:mun_l_ _._O=n:._uman_ .>~O
m:_O ..E_..>"__Eu:=,u _ u:O"EEW_ _ HEZ.:_~U _ .unOchd ___ .._=?_.EU m:_w_=:m_ Umm
__.0 u:_=>.dum_n..i§ _. v ou:..~E:rE._$b_ZO. . us_=>..§._¢£..:=,.~ ~_._mc._a_:rm d m__:=:._:n_ .mm.:.__x_..._

 

 

 

 

 

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10 00 00 10 01 00 1030 0211_§ 30330 .31_320 1
01 00 00 00 00 01 1003 30330 530 1
0 01 11 01 01 00 1000 1003 00011333 01 330 1
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1 0 0 0 0 01 1000 350 _._> 000 3__03_§ 50 3500 1
0 01 11 01 01 00 1000 350 _,_> 01100001xz 210 0010 _3_30 0: 3500 1
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11 01 11 01 10 00 350 _._> _0_013 330 0 _03510 000 1
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1 0 0 0 0 01 .Em 3_00500 .215.0 2001 1

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01 00 00 00 00 01 1000 300 ..130 10013> .30300 3000 01_3:=0 1

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11 01 10 10 001 001 535 1130 330 11

011 001 000 000 010 000 103~_..1=10 333130 231 1
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0 01 11 01 01 00 350 01 231 1

11 01 11 01 10 00 350 01 3333 1
1 0 0 0 0 01 1000 350 01 3000 1
1 0 0 0 0 01 350 01 050 _31_0 1
0 01 11 01 01 00 350 01 0>_1010x0 2000 1
10 00 00 10 01 00 350 01 30=310 530 1

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_._D==H_EOU nunn UmmLhEJn_ HO_QNUC.._ _._O=L_.__UHUD iad
1…00:0 ..E....r _Eub=Um ,.....:Ow_uukh._w..._:o.:nn~ n .m=O .:.00»# ,._ H¢.:u.EIU mc=u=:m wa
nn o=___>.unmw..i_q .\ ._.._0=0_.1.=1.: 5_._0._...0..…. 100_0>01..1._02...:.00~ unmEn__:Um_ d m._::chsu_ _mo.:.:x_h_

 

 

 

 

 

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w__.x.__m__._ __mwm< _E?.m§. maam.ua\m.o ..u._._h`

wQQN._.QM ,..um._c.:n_.

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v
mmp Sw m- ann own nov anrm EEEQ.EDQ w
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§ mr 2 2 § on §§ S__m_m rwm_.s F
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§ f § § § § gsa rum 323QO .L%_m>> v
mv am mm mm am QE norm u_ru£m QE_< .Eu_m>> w
mv am wm mm am cap norm ur_om_m rural .rmurm>> w
mw gm mm mm mm 09 §§ B__=§ mmc .rmu_w>> P
v m w m m or norm L__m_mt._. ...nz_._D ucam _~
mv on mm mm am now aorw Lm__m_.C. .mmm~a __er w
mw am mm mm mm cv aarm ._mur=@ v
§ mm mm § mm E. 925 guam 0 E_>mn_ .Bmi ___5 F
wm mm mm § mv am norm mwmi mccme v
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m..o_wmm_».

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mm on § wm § nw E_Emh_: 200 m>==umxm 230 ,
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. . ., .u___=>._“u.mwu.~_m.nu.. . .E:=E=E..~A_._uz._O..,.. ., u:_RP rui=~.¢..::m. _ :._nE.m__._rw d m._::F_-._m .ma..z~x_n_
m _5 m maj

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EXHIBIT D

BancorpSouth Lenders Collateral

b.l
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NWK\IOS916.[

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E‘>< H?_"B_L' j 5
Group One
uman "“4155 Q“’=Siway¢ Mempbis, TN

Three (3) Crown Model 4OGPW Sez'ial Numl:ers: 7A123035, 7A128036, 7A127275

Twenty-four (24) Crown Modef J'DFCTT Serial Numbers: 9Al 10041, 9A110042
9A1 10043, 9A110044, 9A110045, 9AT 10090, 9Al 10091, 9A110092, 9.»¢“.1100931
9A110094, 9A110095, 9Al 10096, 9A110097, 9A11009S, 9A110135, 9A1 10137’

9A110133, 9A110139, 9A110140,9A11014}, 9AIIOI42. 9Al]0143, 9AI 10145
9A110146 ` '

Twcnty-four ('24) Powerh`ne Batteries Model 024-085};`-2] Serial Nl.\mbers: XC934931
XC934932, XC934983, XC934934, XC934985, XC934986, XC9.3-4987, XC934988, '
Xc3934939, xc934990, xc934991, xc934992, xc934993, xc934994, xc:934995,
XC934996, XC934997, XC3934993, XC934999, XCQBSOOO, XCQS$O()I, XC935002,
XCQBSDOJ, XC935004

Twenty-f`ou.r (24) Power]ine Chargers Model LG240865F 313 Serial Numbers: 99010326,
99{310327, 99(]]0328, 99G10329, 99010330, 9901033], 99G10332, 99GIO3.3.3,
99610334, 99G]0335, 99(310336, 99610337, 99010338, 99G10339, 99(330340,
99G10341, 99G10342, 99510343, 99{310344, 99G10345, ':`99(:`1103'¢!61 99G10347,
99G10348, 99G]O_349

Twenty-I`our (24] SS-HS-A{}S?/SS 37" wide Fork Positioners Serial Num bers:
55HSI41002875, SSHSMZOOZBBS, 55HSI4100289S, 55 HSI410029OS,
55HSl41002913, 551-18141002923, 551-13141002935, 55HSI4100294S,
55HSI41002953, 55HSI410(12963, 55HSI4100297S, 551~!5141002983,
55HSI4~100299S, SSHSI¢H OOSOOS, SSHSHIOOSI)IS, 55H514100`3023,
551'{8141003033, 55H8141003(}4S, 55HSI41003055, 55HSI4100306S,
55HSI41003073, 55HS]41003033, SSHSMIOOBOQS, 55HSl41003lDS

One (1) Cascade relator model 40R.RB-20A Seria! Number 91 145-03

MTC battery handling system plus electrical materials and installation serial number
52602 including but not limited co one 600 amp 480 volt feeder & panelboard with three
42 circuit subpane}s, one 400 amp 480 volt feeder & panereard with two 42 circuit
subpanels, wireway with fifty-nine circuits for eighty-one 30 amp 480 volt outlets, 600
emp feeder with 400 amp feeder and MTC model PCH-2»24~'I`S trip}e stacking power
changer together with all replacements, modificadons, accessions or any pan thereof

Threc (3) Crewn mode! 4OGPW Sen'a} Numbers: 7A128035, 7A123036, 7A127275

One (]) Crown RR5020-45 Reach "f mck S/N ]A206657

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Twc) (_2) Pewerline 12-1251:-] 5 Ealteries S/N XC933765 and XC93‘3765

One (3) Pc>werline LG120865F3B Chaxger SfN 99G0939]
ONE (l} CROWN MODEL NUMBER SOFCTT SERJA.L¢ NUMBER 9A l l 1053
oNe m POWERLINE CHARGER NUMBER MODEL mysest sERJAL NUMBER 99;\,1137;3

ONE (l) SSF-FPS'ADJY 37" FOR_K POSIT{ONER AND INSTALLATION KIT SERIAI. NUMBER
94185-01

ONE {]) POWERLINE BAT'TERY MODEL 24-8$-¥`21 SER.IA.L. NUMBER XH93 79»41
One (1) Crewn SP3 040-30 Stockpicker S/N : 1A206657

Two (2) Powerline 12-1251~'-15 Baueries S/N: XC933765 and XC`.933766
One ( l) Power]ine LG IZDEGSFJB Charger SfN: 99G09891

Six (6) Crown RR.5020-4S Rea¢:h Trucks S/N: 1A2065'73, 1A2065‘79, 1A206574,
1A206447, 1A2065}5, 1.4206683

Twelve (12) Powerline 18-1251""~17 Ba|.'£erics S/N: XC933767, `XC933768, XC933769,
XCQBS??O, XC93377] , XC933772, XC933773, XC933774, XC933775, XC9337'76,
XC933777, XC933773

Six Powerline LGI 8-1 050F3 Chargers S/N: 99(309885, 99G09386, 99G09887,
99609838, 99609839, 99G 09890

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Graup Two
Locaied at 5665 E. Raines Road, Memphis, Ti‘~l
One (1) Crown Stocl<picicer Model Number SPBOIO-SO S/N: lA?.iZ'/`Bl

mo (2) mae eanertes meet member 12-160<3»11 s/N: 05><0106877 and
05>:0106378

One (i) Exide Charger Model Number SGN-l?.-BES Serial Number XH] 5490

Four (4) Crown Forklifts (Stoekpickers) Model Number SP3010-30 S/N: 1A205070,
1A205112, iA?,OSlQ?, IAZOSIQ?', iA.'ZOSlSS

Four (_4) Exide Batteries Model Nttrnber 12-160(3'1 l S/N: 5}{5092469, 5XBO92470,
5XB092471, 5XB092472

Four (4) Exide Chargers Model Number SGN~[E»SG$ S/N: XA4577, XA»’lS‘)'B, XA4S?9,
XA45780

All leases and rental agreements in Which CTK Services, LLC is lessor or assignee and all
contract rights, accounts and general intangibles incident thereto and arising therefrom

All leases in which Equipment Engineering Co., Inc. is lessor or assignee and all contract
rights, accounts and general intangibles incident thereto and arising therefrom

The real property (Wherever located) described in the deeds of trust recorded as
instruments JF 127?, l<l~l 0196 and LC 7033 in the Sltelby County Register’s Oflice,
Memphis, Shelby County, Tennessee

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G re u p Three .
Located at 442 E. Stonewall Road, Byhalta, MS
2391/iii

M‘Y_E_L£ saalAL#

1 SPED40~30 1A213433
2 SPEU‘?D-ED 1 qu 3493
3 SP3D4D-BD 1A21 551-1
4 eman 1A21ae12
5 sPao40_30 1A21351a
5 ePae¢o_so 1A213514
7 sPaoeo_so 1A218515
8 » 393040-30 1A21es1e
9 seaman-so unaware
10 emma 1A213511
11 epemoeu 1A21ee'12
72 SP$NO€U 1A213513
13 SPSMo-ao 45215614
14 ' SPau-:oeo ,-"1'A21eets
15 epamoeo _.¢,_\1A215e1e
15 seem “1A21ar12
1 7 5?3949-30 1A21e?1 a
1 8 sP3040~30 treat 3?14
‘** 19 SPsoee-ao materia
20 spawned umwa
m SP3°40-30 1A21a717
22 SP3040-30 1A213753
23 speoee»ao 1 Aar e're4
24 seamen 1.»\218786
25 spawned marera?
25 5P3O4O~30 mar area
27 SPamo<ao 1;`213758
25 59394°-3€' 1A21 area
29 SPemo-aa mm sear
1 PEeS¢oee eatveez?
2 PE-'="S‘D~@D em?seza
3 Peestmee am 75529
4 PEas.tn~eo mirss.au
1 RRBQZD~‘¥S mar amos
2 RR5020-45 1A219025
3 RRSozc)-¢:e mataozr
4 manzo-45 1 Mmm
5 RRSozo-es 1A21eczs
6 RRSQ?-O-H 1A21 ease
7 Raeozo~ee 1A219031

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RRSUEO-d§
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RRSDZD~J£S
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RREGZD-¢S

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WOMAS & BETTS - CHARGERS

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1 W1-1 2-550 maam
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3 Wc~12-550 XL23953
4 W1-12-550 m3954
1 1335-13_1200 `° xl_z:aass
2 naaqs-1200 mas-357
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5 1335-13-1200 maass
6 malina-1200 m3961
7 DaE-1B~1200 xl.zase:z
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13 035~13_1200 masses
14 needs-1200 xl_zsses
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16 malina-1200 )u..g:asn
17 DaE-1B-1200 _ XL23972
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20 naaqs-1200 50_23975
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22 D:aE»1 3-1200 XL23977
23 marina-1200 xLzaa?a
1 1335-12-1050 x1c22912
2 mae-1240st mesa
3 XXX-XX-XXXX Xr<22914
4 031;-12-1050 xx22915
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a XXX-XX-XXXX xK22919
9 035-1 2-1050 szzszo
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AxL-1 702-17
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AXL.-170281
AXL-‘l 70252
ML-`l 70253
AXL.-1702B4
AXL-170285
AXL-‘l 70286

AXL-17'D449
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A.XK-166490
AXL~170452
AXL-170453
AXK-1 55459

mac-1 evaaa
A><l<-m?ass
sz<»m?seo
AxI<-1 67:151
Axl<-1 e?ss.z
Axm 67363
AxK-1s7364
AxK-1e7365
A)u<-wvses
AxK-~c 572-167
A)cxns?aea
AxK-1 61359
AxK-1e7a7o
AxK-1B73?1
mmc-1 67372
msc-wren
AxK-167374
AxK-16737s
Ax}<.167375
A)cK-w'/a?v
A.XK-1 57378
AxK-1 67379
Axx-m?aeo '
Ax)c-1s?3e1
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Ax)<_1a7aaa
mac-1 61364
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AXK-157396
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AxK-16?4oo
A><K-1e7401
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AxK-157403
Axl<»16?404
AxK-167405
AxK-157406
Axl<-167407
Axr<-1e'/4na
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A)<K~1s7412
A>cK-1er413
AxK-157414
AxK-167415

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AxK-167751
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A>G<-167753
A>G<-167754
AX|<-‘I 67746
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AXK-'l 67748
A><K-167749
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24-&-1 130-19
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24-E-1DO-19

AxK-1e?221
Ax}<-1e722.2
A)G<-1e?223
‘-~Ax)<-m?zz.q
sz<~157225
A><K.1a7225
A)<K*157227

Ax)<-152229
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Ax»<-162231
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EXH[BIT A
TO FINANCING S'I`ATEMENT FROM ~
CTK, INC. D/B!A LIFT X TECHNOLOGIES, AS DEBTOR
AND
BA.NCORPSOUTH BANK, AS SECUR.ED PARTY

All coth right.s, accoun!s, i.nvcntory, equipment and general wmgibles, including, but
not limited to, ali contract rights, accounts and general intangibles incident to and arising
nom any and ali ime or rental agreements in which debtor is lessor and Cummins

Engine Co. is lessee. PUR.CHASE MONEY SECURITY INTER.EST IN THE
FOLLOWING:

MTC battery handling Systcm pltm electrical materials and installation serial number
52602 including but not limited to one 600 amp 480 volt feeder & paneled with three
42 circuit subpansls, one 400 amp 480 volt feeder & panclboard with two 42 circuit
subpanels, wireway with fifty-nine circuits for eighty-one 30 amp 480 volt outlets, 600
amp feeder with 400 amp feeder and MTC model PCH-Z-Zd~TS triple smoking power
ohanger together with all replacements, modifications, accessions or any part thereof

Above equipment to be located at Cummins \Engine Company, 4155 Questway,
Memphis, Shelby County, Tennessee or wherever located.

CTK, INC. D/B/A LU"T X 'IECHNOLOGIES

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EXHIBIT E

Wachovia Lenders Collateral

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Foc25
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Focst-LP-Ho

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A.FB?.CUBISS
AF82C02995
AI" 82C901 37
AFS?.COBOUS
AF BZC03189
AFEZC90146

AF82C0331 l
AFB?.CDBGI$
A.F 82(.‘.90133
AFS.‘ZCOBI§D
AF32C9014B
A.FS?.COBB 16
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EXHIBIT F

Panchikal and Terrell Release

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Tcrrell Releu.se

GENERAL RELEASE

THIS GENERAL RELEASE (the “Release”) entered on this June____, 2005 for and in
consideration of the promises and other good and valuable consideration set forth in a certain
Settlcment Agreement of even date which includes the parties set forth below (the “Settlcment
Agreernent”), the receipt and sufficiency of which is hereby acknowledged, BancorpSouth Bank
(hereinafter referred to as, the “Releasor”), does hereby RELEASE, FOREVER DISCHARGE
AND COVENANT NOT TO SUE AND PROVIDED THAT NO EVENT OF DEFAULT HAS
OCCURRED OR EXITS UNDER THE SETTLEMENT AGREEMENT, George M. Terrell
(herelnafter referred to as, the “Releasee”), from any and all claims, demands, damages, judgments,
rights, obligations, actions, causes of action, counter~claims, suits, costs, losses and expenses, of
any kind, description or nature whatsoever, liquidated and unliquidated, fixed and contingent, direct
and indirect, under any state law, federal law or common law specifically arising out of or in any
way connected or related to the Settlement Agreexnent and all underlying documents and
transactions associated therewith or described therein.

This Relcase shall not operate ns an admission of liability on the part of anyone.

THIS RELEASE SHALL NOT BECOME EFFECTIVE UNTIL RELEASED FROM
ESC'ROW PURSUANT TO PARAGRAPH 20 OF THE SETTLEMENT AGREEMENT.

Releasor states that the consideration for executing this Rclease is the consideration set
forth in the Sertlernent Agreement and that no additional promise, agreement or understanding of
any kind or nature has been made between Relcasor and Releasec to cause Releasor to sign this
Rclease; that Releasor is legally competent and authorized to execute this Release and tiilly accept
the responsibility thereof; that Releasor was given adequate time to consider all implications of this
Relcase prior to executing it; and that Releasor has had the opportunity to freely and fully consult
with and seek the advice of whomever it deemed appropriate, including counsel of its own choice
and which it has done; and that Releasor fully understands the meaning and intent of this
instrument

BANCORPSOU'I`H BANK

By:
Name: David E. Ferrell
Title: Sr. Vice President

 

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Panchikal Releuse

GENERAL RELEASE

THIS GENERAL RELEASE (the “Release”) entered on , 2005 for and in
consideration of the promises and other good and valuable consideration set forth in a certain
Settlement Agreement of even date which includes the parties set forth below (the “Settlernent
Agreement”), the receipt and sufficiency of which is hereby acknowledged BancorpSouth Banl<
(liereinafter referred to as, the “Releasor”), does hereby RELEASE, FOREVER DISCHARGE
AND COVENANT NOT TO SUE AND PROVIDED THAT NO EVENT OF DEFAULT HAS
OCCURRED OR EXITS UNDER THE SETTLEMENT AGREEMENT, Bernard Panchikal
(hereinafter referred to as the “Releasee”), from any and all claims, demands, damages, judgments,
rights, obligations, actions, causes of action, counter-claims, suits, costs, losses and expenses, of
any kind, description or nature whatsoever, liquidated and unliquidated, fixed and contingent, direct
and indirect, under any state law, federal law or common law specifically arising out of or in any
way connected or related to the Settlement Agreement and all underlying documents and
transactions associated therewith or described therein

This Release shall not operate as an admission of liability on the part of anyone

THIS RELEASE SHALL NOT BECOME EFFECTIVE UNTIL RELEASED FROM
ESCROW PURSUANT TO PARAGRAPH 20 OF THE SETTLEMENT AGREEMENT.

Releasor states that the consideration for executing this Release is the consideration set
forth in the Settlement Agreement and that no additional promise, agreement or understanding of
any kind or nature has been made between Releasor and Releasee to cause Releasor to sign this
Release; that Releasor is legally competent and authorized to execute this Release and fully accept
the responsibility thereof; that Releasor was given adequate time to consider all implications of this
Release prior to executing it; that Releasor has had the opportunity to freely and fully consult with
and seek the advice of whomever it deemed appropriate, including counsel of its own choice and
which it has done; and that Releasor fully understands the meaning and intent of this instrument

BANCORPSOUTH BANK

By:
Name: David E. Ferrell
Title: Sr. Vioe President

 

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Panchikal Release

GENERAL RELEASE

THIS GENERAL RELEASE (the “Release”) entered on this June , 2005 for and in
consideration of the promises and other good and valuable consideration set forth in a certain
Settlernent Agreement of even date which includes the parties set forth below (the “Sett]ement
Agreenient”), the receipt and sufficiency of which is hereby acknowledged, Wachovia Bank,
National Association, successor by merger to SouthTrust Bank (“Wachovia”) (‘nereinafter referred
to as the “Releasor”), does hereby RELEASE, FOREVER DISCHARGE AND COVENANT
NOT TO SUE PROVIDED THAT NO EVENT OF DEFAULT HAS OCCURRED OR
EXISTS UNDER THE SETTLEMENT AGREEMENT, Bemard Panchikal (“Panchikal”)
(hereinafter referred to as, the “Releasee”), from any and all claims, demands, damages, judgments,
rights, obligations, actions, causes of action, counter-claims, suits, costs, losses and expenses, of
any kind, description or nature whatsoever, liquidated and unliquidated, fixed and contingent, direct
and indirect, under any state law, federal law or common law specifically arising out of or in any
way connected or related to the Settlernent Agreement and all underlying documents and
transactions associated therewith or described therein.

This Release shall not operate as an admission of liability on the part of anyone.

THIS RELEASE SHALL NOT BECOME EFFECTIVE UNTIL RELEASED FROM
ESCROW PURSUANT TO PARAGRAPH 20 OF THE SETTLEMENT AGREEMENT.

Releasor states that the consideration for executing this Release is the consideration set
forth in the Settlement Agreement and that no additional promise, agreement or understanding of
any kind or nature has been made between Releasor and Releasee to cause Releasor to sign this
Release; that it is legally competent and authorized to execute this Release and fully accept the
responsibility thereof; that it was given adequate time to consider all implications of this Release
prior to executing it; and that it has had the opportunity to freely and fully consult with and seek the
advice of whomever it deemed appropriate, including counsel of its own choice and which it has
done; and that it fully understands the meaning and intent of this instrument.

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WACHOVIA BANK,
NATIONAL ASSOCIATION

By:
Narne: Andy Raine
Title: Vice President

 

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`.`reu Release

GENERAL RELEASE

THIS GENERAL RELEASE (the “Release”) entered on this lune , 2005 for and in
consideration of the promises and other good and valuable consideration set forth in a certain
Settlement Agreernent of even date which includes the parties set forth below (the “Serrlem@m
Agreernent”), the receipt and sufficiency of which is hereby acknowledged Wachovia Banl<,
National Association, successor by merger to SouthTrust Bank, (“Wachovia”) (hereinafter referred
to as the “Releasor”), does hereby RELEASE, FOREVER DISCHARGE AND COVENANT
NOT TO SUE PROVIDED THAT NO EVENT OF DEFAULT HAS OCCURRED OR
EXISTS UNDER THE SETTLEMENT AGREEMEN'I', George M. Terrell (hereinafter referred
to as, the “Releasee”), from any and all claims, demands, darnages, judgments, rights, obligations,
actions, causes of action, counter-claims, suits, costs, losses and expenses, of any kind, description
or nature whatsoever, liquidated and unliquidated, fixed and contingent, direct and indirect, under
any state law, federal law or common law specifically arising out of or in any way connected or
related to the Settlement Agreement and all underlying documents and transactions associated
therewith or described therein.

This Release shall not operate as an admission of liability on the part of anyone.

THIS RELEASE SHALL NOT BECOME EFFECTIVE UNTIL RELEASED FROM
ESCROW PURSUAN'I` TO PARAGRAPH 20 OF THE SETTLEMENT AGREEMENT.

Releasor states that the consideration for executing this Release is the consideration set
forth in the Settlement Agreement and that no additional promise, agreement or understanding of
any kind or nature has been made between Releasor and Releasee to cause Releasor to sign this
Release; that it is of legally competent and authorized to execute this Release and fully accept the
responsibility thereof; that it was given adequate time to consider all implications of this Release
prior to executing it; and that it has had the opportunity to freer and fully consult with and seek the
advice of whomever it deemed appropri-ate, including counsel of its own choice and which it has
done; and that it fully understands the meaning and intent of this instrument

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WACHOVIA BANK,
NATIONAL ASSOCIATION

By:
Narne: Andy Raine
Title: Vice President

 

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Panchikal Release

GENERAL RELEASE

THIS GENERAL RELEASE (the “Release”) entered on this June__, 2005 for and in
consideration of the promises and other good and valuable consideration set forth in a certain
Settlement Agreement of even date which includes the parties set forth below (the “Settlement
Agreement”), the receipt and sufficiency of which is hereby acknowledged, CitiCapital
Commercial Corporation (“CitiCapital Comrnercial”), CitiCapital Commercial l.easing Corporation
(“CitiCapital Leasing”), and CitiCorp Del-Lease, lnc. (“CitiCapital Del.”) (hereinafter collectively
referred to as, the “Releasors”), does hereby RELEASE, FOREVER DISCHARGE AND
COVENANT NOT TO SUE AND PROVIDED THAT NO EVENT OF DEFAULT HAS
OCCURRED OR EXITS UNDER THE SETTLEMENT AGREEMENT, Bemard Panchikal
(“Panchikal”) (hereinafter collectively referred to as, the “Releasee”), from any and all claims,
demands, damages, judgments, rights, obligations, actions, causes of action, counter-claims, suits,
costs, losses and expenses, of any kind, description or nature whatsoever, liquidated and
unliquidated, fixed and contingent, direct and indirect, under any state law, federal law or common
law specifically arising out of or in any way connected or related to the Settlement Agreement and
all underlying documents and transactions associated therewith or described therein.

This Release shall not operate as an admission of liability on the part of anyone

THIS RELEASE SHALL NOT BECOME EFFECTIVE UNTIL RELEASED FROM
ESCROW PURSUANT TO PARAGRAPH 20 OF THE SETTLEMENT AGREEMENT.

Releasors state that the consideration for executing this Release is the consideration set
forth in the Settlement Agreement and that no additional promise, agreement or understanding of
any kind or nature has been made between Releasors and Releasee to cause Releasors to sign this
Release; that they are of legally competent and authorized to execute this Release and fully accept
the responsibility thereof; that they were given adequate time to consider all implications of this
Release prior to executing it; and that they have had the opportunity to freely and fully consult with
and seek the advice of whomever they deemed appropriate, including counsel of each of their own
choice and which they have done; and that they fully understand the meaning and intent of this
instrument

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ClTICAPlTAL COMMERCIAL
CORPORATION

By:
Name: Patricia G. McConnack
Title: Sr. Vice President

 

CITICAPITAL COMMERCIAL
LEASING CORPORATION

By:
Name: Patricia G. McCormack
Title: Sr. Vice President

 

CITICOR_P DEL-LEASE, INC.

By:
Name: Patricia G. McCorrnack
Title: Sr. Vice President

 

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'l'errell Release

GENERAL RELEASE

THIS GENERAL RELEASE (the “Release”) entered on this June__, 2005 for and in
consideration of the promises and other good and valuable consideration set forth in a certain
Settlement Agreement of even date which includes the parties set forth below (the “Settlement
Agreement”), the receipt and Sufficiency of which is hereby acknowledged, CitiCapital
Cominercial Corporation (“CitiCapital Commercial”), CitiCapital Commercial Leasing Corporation
(“CitiCapital Leasing”), and CitiCorp Del-Lease, Inc. (“CitiCapital Del.”) (hereinafter collectively
referred to as, the “Releasors”), does hereby RELEASE, FOREVER DISCHARGE AND
COVENANT NOT TO SUE AND PROVIDED THAT NO EVENT OF DEFAULT HAS
OCCURRED OR EXITS UNDER THE SETTLEMENT AGREEMENT, George M. Terrell
(hereinafter referred to as, the “Reieasee”), from any and all claims, demands, damages, judgments,
rights, obligations, actions, causes of action, counter-claims, suits, costs, losses and expenses, of
any kind, description or nature whatsoever, liquidated and unliquidated, fixed and contingent, direct
and indirect, under any state law, federal law or common law specifically arising out of or in any
way connected or related to the Settlement Agreement and all underlying documents and
transactions associated therewith or described therein.

This Release shall not operate as an admission of liability on the part of anyone.

THIS RELEASE SHALL NOT BECOME EFFECTIVE UNTIL RELEASED FROM
ESCROW PURSUANT TO PARAGRAPH 20 OF THE SETTLEMENT AGREEMENT.

Releasors state that the consideration for executing this Release is the consideration set
forth in the Settlement Agreement and that no additional promise, agreement or understanding of
any kind or nature has been made between Releasors and Releasee to cause Releasors to sign this
Release; that they are of legally competent and authorized to execute this Release and fully accept
the responsibility thereof; that they were given adequate time to consider all implications of this
Release prior to executing it; and that they have had the opportunity to freely and fully consult with
and seek the advice of whomever they deemed appropriate, including counsel of each of their own
choice and which they have done; and that they fiilly understand the meaning and intent of this
instrument

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CITICAPITAL COMMERCIAL
CORP ORATION

By:
Name: Patricia G. McCormack
Title: Sr. Vice President

CITICAPITAL COMMERCIAL
LEASING CORPORATION

By: -
Name: Patricia G. McCormack
Title: Sr. Vice President

 

CIT[CORP DEL-LEASE, INC.

By:
Name: Patricia G. McCorrnack
Title: Sr. Vice President

 

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EXHIBIT G

District Court Stipulation

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
VVESTERN DIVISION AT MEMPHIS

CITICAPITAL COMMERCIAL CORPORATION

f/k/a ASSOCIATES COMMERCIAL CORPORATION;
CITICAPITAL COMMERCIAL LEASING CORPORATION
f/k}a ASSOCIATES LEASING, INC.;

and CITICORP DEL-LEASE, INC.

Plaintiffs,
vs. CAUSE NO. 03-CV-2605 BA

CTK, INC. d/b/a LIFT X TECHNOLOGY and d/bfa TOYOTA LIFT SOUTH;
CTK SERVICES, LLC;
EQUIPMEN'I` ENGINEERING COMPANY;
BERNARD PANCHIKAL,

individually and d/b/a LIFT TRUCK SERVICE & RENTALS; and
GEORGE TERRELL,

Defendants.

STIPULATED CONSENT ORDER
OF FRCP 4](a) DISMISSAL WITHOUT PREJUDICE

Come now the parties hereto and announce to the Court that it is agreed and stipulated
among them that the above-captioned matter should be dismissed without prejudice, subject and
pursuant to the Settlement Agreernent attached hereto as Exhibit A which is approved by the
Court and incorporated herein, this Court retaining jurisdiction for the limited purpose of

enforcement of same .

IT IS SO ORDERED.

 

UNITED STATES DlSTRICT IUDGE

Date:

 

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STIPULATED, AGREED AND APPROVED:

 

BERNARD PANCHIKAL, individually
and d/b/a Lift Truck Service & Rentals,
Defendant

 

GEORGE TERRELL, Defendant

APPERSON, CRUMP & MAXWELL, PLC

 

Louis J ay Miller, Esq. (BPR #5418)
6000 Poplar Avenue, Suite 400
Memphis, TN 381 19-3 972

(901) 756-6300

Fax (901) 757-1296

Attorneys for Plaintiffs

FARRIS MATHEWS BRANAN
BOBANGO HELLEN & DUNLAP PLC

 

Michael P. Coury, Esq. (BPR # )

40 S. Main Street, Suite 2000

One Commerce Square

Memphis, Tennessee 38103

(901) 259-7100

Fax (901) 259-7150

Attorneys for Defendants
CTK, Inc. dfb/a LlFT X TECHNOLOGY and d/b/ a TOYO'l`A LIFT SOUTH;
CTK Services, LLC; and Equipment Engineering Company

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RUSSELL J. J()HNSON, ESQ. (BPR # )
5100 Poplar Avenue, Suite 2749

Memphis, Tennessee 38117-4000

(901) 761~0799

Fax (901) 753-7379

Attomey for Defendant George Terrell

THE WINCHESTER LAW FIRM

 

Mark Grai, Esq. (BPR # )

6060 Poplar Avenue, Suite 295

Memphis, Tennessee 381 19

(901) 685-9222

Fax: (901) 869-0912

Attorneys for Defendant Bernard Panchikal,
individually and d/b/a Lift Truck Service & Rentals

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:03-CV-02605 was distributed by fax, mail, or direct printing on
August l, 2005 to the parties listed.

 

 

Chris W. Dotson

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

l\/lemphis7 TN 38103

Robert F. Miller

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

l\/lemphis7 TN 38103

Louis _l_ Miller

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

l\/lemphis7 TN 38119--397

Honorable .l. Breen
US DISTRICT COURT

